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                           UNITED STATES DISTRICT COURT
                                DISTRICT OF KANSAS

  COLE SEBALD, derivatively on behalf of MGP
  INGREDIENTS, INC.,
                                                     Civil Action No.
         Plaintiff,

         vs.

  DAVID COLO, DAVID S. BRATCHER,                     DEMAND FOR JURY TRIAL
  BRANDON M. GALL, NEHA J. CLARK,
  THOMAS A. GERKE, DONN LUX, PREET H.
  MICHELSON, LORI L.S. MINGUS, KEVIN S.
  RAUCKMAN, KAREN L. SEABERG, TODD
  B. SIWAK,

         Defendants,

         and

  MGP INGREDIENTS, INC.,

         Nominal Defendant.


                VERIFIED SHAREHOLDER DERIVATIVE COMPLAINT

                                      INTRODUCTION

       Plaintiff Cole Sebald (“Plaintiff”), by Plaintiff’s undersigned attorneys, derivatively and

on behalf of Nominal Defendant MGP Ingredients, Inc. (“MGP” or the “Company”), files this

Verified Shareholder Derivative Complaint against David Colo (“Colo”), David S. Bratcher

(“Bratcher”), Brandon M. Gall (“Gall”), Neha J. Clark (“Clark”), Thomas A. Gerke (“Gerke”),

Donn Lux (“Lux”), Preet H. Michelson (“Michelson”), Lori L.S. Mingus (“Mingus”), Kevin S.

Rauckman (“Rauckman”), Karen L. Seaberg (“Seaberg”), and Todd B. Siwak (“Siwak”)

(collectively, the “Individual Defendants,” and together with MGP, the “Defendants”) for breaches

of their fiduciary duties as controlling shareholders, directors and/or officers of MGP, unjust

enrichment, abuse of control, gross mismanagement, waste of corporate assets, for violations of


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Section 14(a) of the Securities Exchange Act of 1934 (the “Exchange Act”) and for contribution

against Defendants Colo, Bratcher, and Gall under Sections 10(b) and 21D of the Exchange Act.

As for Plaintiff’s complaint against the Individual Defendants, Plaintiff alleges the following based

upon personal knowledge as to Plaintiff and Plaintiff’s own acts, and information and belief as to

all other matters, based upon, inter alia, the investigation conducted by and through Plaintiff’s

attorneys, which included, among other things, a review of the Defendants’ public documents,

conference calls and announcements made by the Defendants, United States Securities and

Exchange Commission (“SEC”) filings, wire and press releases published by and regarding MGP,

legal filings, news reports, securities analysts’ reports and advisories about the Company, and

information readily obtainable on the Internet. Plaintiff believes that substantial evidentiary

support will exist for the allegations set forth herein after a reasonable opportunity for discovery.

                                  NATURE OF THE ACTION

       1.      This is a shareholder derivative action that seeks to remedy wrongdoing committed

by MGP’s current and former directors and officers from May 4, 2023 through October 31, 2024,

both dates inclusive (the “Relevant Period”).

       2.      MGP, headquartered in Atchison, Kansas, produces, distills, and distributes

alcoholic beverages. Among the kinds of alcohol produced by MGP are tequila, bourbon, rye,

vodka, and gin.

       3.      As the result of the COVID-19 pandemic and stay at home mandates, consumers

around the world increased their consumption of alcohol. Within the United States alone, there

was a significant increase in retail sales of alcohol in 2020, with some studies suggesting as much

as 25% of people consumed more alcohol than they had prior to the pandemic.

       4.      As a result of this uptick in drinking, companies who sold alcoholic beverages, such

as MGP, benefitted considerably throughout the pandemic. In order to meet this bump in demand,


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the Company began to increase its production. However, eventually demand would return to

normal levels and, in 2023, the Company saw demand began to do so.

         5.      Throughout the Relevant Period, the Individual Defendants caused MGP to make

false and misleading statements about its level of inventory having been “sold through” prior to

this decline in consumer demand. For example, on May 4, 2023, the Company issued a press

release announcing its financial results for the first quarter of the fiscal year ended December 31,

2023 (the “2023 Fiscal Year”), which the Company also filed with the SEC on Form 8-K (the “Q1

2023 Earnings Release”).

         6.      That same day, the Company hosted an earnings call with investors to discuss the

first quarter result (the “Q1 2023 Earnings Call”). On the Q1 2023 Earnings Call, Defendant Colo

said of the Company’s demand:

         Thanks, Brandon. We are pleased with the solid results delivered this quarter,
         despite increased costs and broader macroeconomic uncertainty. Demand for our
         products in each of our three segments remains strong and we believe our
         business continues to be well positioned. We expect to maintain a high level of
         operational execution and remain deliberate in our actions, as we navigate the
         market dynamics this year, which is why we are reconfirming our full year fiscal
         2023 guidance.1

         7.      The truth fully emerged on October 31, 2024, when the Company issued a press

release announcing its third quarter financial results for the fiscal year ended December 31, 2024

(the “2024 Fiscal Year”), which the Company also filed with the SEC on Form 8-K (the “Q3 2024

Earnings Release”). The Q3 2024 Earnings Release revealed that, as the result of ““the softening

American whiskey category trends and elevated industry-wide barrel inventories,” the Company

needed to “further lower our net aging whiskey put away, scale down our whiskey production, and

optimize our cost structure to mitigate lower production volumes.”



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    All emphasis added unless stated otherwise.


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        8.     On an earnings call with investors that same day (the “Q3 2024 Earnings Call”),

Defendant Bratcher admitted that “slower growth and higher inventories are leading to lower

demand, lower prices and reduced visibility on our contract distilling sales.” Defendant Gall then

added that as a result, the Company was “significantly reducing our brown goods production to

better align with demand in 2025. At the same time, softer American whiskey growth and elevated

barrel inventories continue to constrain demand for aged whiskey and increasingly our new

distillate.”

        9.     On this news, the price per share of MGP stock fell $8.27, or 14.7%, from closing

at a price of $56.31 per share on October 30, 2024, to close at a price of $49.04 per share on

October 31, 2024.

        10.    Throughout the Relevant Period, in breach of their fiduciary duties owed to MGP,

the Individual Defendants willfully or recklessly caused the Company to make false and/or

misleading statements and/or omissions of material fact that failed to disclose, inter alia, that: (1)

despite their claims, the Individual Defendants did not have a good sense as to the decreasing

demand in the industry; (2) as a result of the foregoing, the Company failed to adjust its production

and inventory levels accordingly; (3) because of this, the Company’s inventory levels remained

unsustainably high while demand for its products decreased; (4) the Individual Defendants were

improperly interested in increasing their future compensation by seeking shareholder approval of

an Equity Incentive Plan (the “2024 Incentive Plan”); and (5) the Company failed to maintain

internal controls. As a result, the Individual Defendants’ statements about the Company’s business,

operations, and prospects were materially false and misleading and/or lacked a reasonable basis at

all relevant times.




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         11.     The Individual Defendants failed to correct and/or caused the Company to fail to

correct these false and misleading statements and omissions of material fact, rendering them

personally liable to the Company for breaching their fiduciary duties.

         12.     In addition, during the Relevant Period, the Individual Defendants breached their

fiduciary duties by causing MGP to repurchase its own stock at prices that were artificially inflated

due to the foregoing misrepresentations. Indeed, between March 2024 and July 2024,

approximately 128,360 shares of MGP common stock were repurchased at artificially inflated

prices, costing the Company approximately $10 million. As the Company’s stock was actually

worth only $49.04 per share, the price at which it was trading when markets closed on October 31,

2024, the Company overpaid for repurchases of its own stock by approximately $3.7 million in

total.

         13.     Additionally, in breach of their fiduciary duties, the Individual Defendants willfully

or recklessly caused the Company to fail to maintain adequate internal controls while three of the

Individual Defendants engaged in improper insider sales, netting total proceeds of approximately

$14.2 million.

         14.     The Company has been substantially damaged as a result of the Individual

Defendants’ knowing or highly reckless breaches of fiduciary duty and other misconduct.

         15.     In light of the Individual Defendants’ misconduct—which has subjected the

Company, two of its former President/Chief Executive Officers (“CEO”), and its Chief Financial

Officer (“CFO”) to a federal securities fraud class action lawsuit pending in the United States

District Court for the Southern District of New York (the “Securities Class Action”), and which

has further subjected the Company to the need to undertake internal investigations, the need to

implement adequate internal controls, losses from the waste of corporate assets, and losses due to




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the unjust enrichment of the Individual Defendants who were improperly overcompensated by the

Company and/or who benefitted from the wrongdoing alleged herein—the Company will have to

expend many millions of dollars.

       16.     In light of the breaches of fiduciary duty engaged in by the Individual Defendants,

most of whom are the Company’s current directors, of the collective engagement in fraud and

misconduct by the Company’s directors, of the substantial likelihood of the directors’ liability in

this derivative action and of Defendant Colo’s, Defendant Bratcher’s, and Defendant Gall’s

liability in the Securities Class Action, and of their not being disinterested and/or independent

directors, a majority of the Company’s Board of Directors (the “Board”) cannot consider a demand

to commence litigation against themselves on behalf of the Company with the requisite level of

disinterestedness and independence.

                                 JURISDICTION AND VENUE

       17.     This Court has subject matter jurisdiction pursuant to 28 U.S.C. § 1331 because

Plaintiff’s claims raise a federal question under Section 14(a) of the Exchange Act (15 U.S.C. §

78n(a)(1)), Rule 14a-9 of the Exchange Act (17 C.F.R. § 240.14a-9), Section 10(b) of the

Exchange Act (15 U.S.C. § 78j(b)) and Section 21D of the Exchange Act (15 U.S.C. § 78u-4(f)).

Plaintiff’s claims also raise a federal question pertaining to the claims made in the Securities Class

Action based on violations of the Exchange Act.

       18.     This Court has supplemental jurisdiction over Plaintiff’s state law claims pursuant

to 28 U.S.C. § 1367(a).

       19.     This derivative action is not a collusive action to confer jurisdiction on a court of

the United States that it would not otherwise have.

       20.     Venue is proper in this District pursuant to 28 U.S.C. §§ 1391 and 1401 because




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MGP is incorporated in this District, a substantial portion of the transactions and wrongs

complained of herein occurred in this District, one or more of the Defendants either resides or

maintains executive offices in this District, and the Defendants have received substantial

compensation in this District by engaging in numerous activities that had an effect in this District.

                                            PARTIES

       Plaintiff

       21.     Plaintiff is a current shareholder of MGP. Plaintiff has continuously held shares of

MGP common stock since first purchasing on April 11, 2022.

       Nominal Defendant MGP

       22.     MGP is a Kansas corporation with principal executive offices at 100 Commercial

Street, Atchison, Kansas, 66002. MGP common stock trades on the NASDAQ Global Select

Market (“NASDAQ”) under the ticker symbol “MGP.”

       Defendant Colo

       23.     Defendant Colo served as the Company’s President, CEO, and as a Company

director from May 2020 until December 2023.

       24.     The proxy statement that the Company filed with the SEC on April 12, 2023 (the

“2023 Proxy Statement”) stated the following about Defendant Colo:

       Mr. Colo has been the Company’s Chief Executive Officer since May 2020 and the
       President since March 2020. He also served as the Company’s Chief Operating
       Officer from March 2020 to May 2020. Prior to joining the Company, he served as
       President, Chief Executive Officer and a director of SunOpta, Inc., a leading global
       company focused on natural food, ingredient sourcing, organic food, and specialty
       foods, from February 2017 to March 2019. He served as Executive Vice President
       and Chief Operating Officer of Diamond Foods, Inc. from 2013 until March 2016.
       He joined Diamond Foods in 2012 as Executive Vice President of Global
       Operations and Supply Chain. For the three years prior to joining Diamond Foods,
       Mr. Colo served as an independent industry consultant, focusing on organizational
       optimization and planning. From 2003 to 2005, he served as President of ConAgra
       Food Ingredients. Before his employment at ConAgra Foods, Mr. Colo spent
       several years with Nestle-Purina Pet Care Company in roles of increasing


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       responsibility, including Vice President of Supply for the company’s Golden
       Products Division and Vice President of Store Brands and Venture Development.
       He also served two years as President of the American Dehydrated Onion and
       Garlic Association. Mr. Colo’s qualifications to serve on the Board include his
       extensive management experience and his experience in the food industry, and the
       insights he brings from his service as an officer of the Company.

       Defendant Bratcher

       25.    Defendant Bratcher served as the Company’s President, CEO, and as a Company

director from January 2024 until December 2024. Prior to becoming CEO, Defendant Bratcher

served as the Company’s Chief Operating Officer from July 2021 until December 2023.

       26.    The proxy statement that the Company filed with the SEC on April 9, 2024 (the

“2024 Proxy Statement”) stated the following about Defendant Bratcher:

       Mr. Bratcher is our Chief Executive Officer and President, a role he assumed on
       January 1, 2024. Mr. Bratcher served as our Chief Operating Officer from July 2021
       to December 2023, and as President of Branded Spirits since our merger with
       Luxco, Inc. in April 2021 to December 2023. Prior to the Luxco merger, Mr.
       Bratcher served in several leadership roles at Luxco since his hire in 1998 as
       Director of Operations. He most recently served as President of Luxco, from 2013
       until the April 2021 merger with Luxco. Before joining Luxco, Mr. Bratcher served
       in financial and operational roles for a number of consumer product companies,
       including serving five years as Controller and then Director of Operations for the
       international spirits company Allied Domecq, the second-largest spirits company
       in the world at the time. Mr. Bratcher’s qualifications to serve on our Board include
       his extensive leadership experience and his experience in the beverage and alcohol
       industry, and the insights into our operations, management, and culture he brings
       from his service as our Chief Executive Officer and President.

       Defendant Gall

       27.    Defendant Gall has served as the Vice President of Finance and CFO since April

2019. As of January 1, 2025, Defendant Gall also has been serving as the interim President and

CEO of the Company.




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         28.    The “Executive Team” page of the Company’s website2 stated the following about

Defendant Gall:

         Brandon Gall is Vice President of Finance and Chief Financial Officer of MGP and
         has served in this role since April 2019. In this role, Mr. Gall oversees the
         Company’s accounting, business development, financial planning and analysis,
         treasury, investor relations, tax, and IT functions. Mr. Gall joined the Company in
         2012 and has advanced through a steady progression of leadership roles, including
         Director of Financial Planning and Analysis, Director of Supply Chain Finance,
         Director of Business Development, and Corporate Controller.

         Prior to joining MGP, Mr. Gall worked at Errand Solutions, Chicago as director of
         finance and human resources. From 2005 to 2010, Mr. Gall served at Credit Suisse
         Securities in various analyst and associate roles and earned numerous securities
         licenses including the Series 7, Series 63 and Series 66 licenses.

         Mr. Gall holds a bachelor’s degree of business administration from Miami
         University and a master’s degree in business administration from the University of
         Chicago. He is also a certified public accountant.

         Defendant Clark

         29.    Defendant Clark has served as a Company director since June 2021. She also serves

as the Chair of the Audit Committee, and as a member of the Human Resources and Compensation

Committee (the “Compensation Committee”) and the Nominating and Governance Committee.

         30.    The 2024 Proxy Statement stated the following about Defendant Clark:

          Ms. Clark has been the Senior Vice President of Enterprise Finance at Brunswick
          Corporation (NYSE:BC), a leading global designer, manufacturer, and marketer
          of recreational marine products, since May 2022. She served as the Chief Financial
          Officer of Brunswick Boat Group, a division of Brunswick Corporation, from
          March 2019 to May 2022. From August 2018 to November 2018, she was the
          Chief Financial Officer of Lifeway Foods, Inc., a manufacturer and marketer of
          beverages and dairy products. From January 2016 to August 2018, she was the
          Chief Financial Officer – Coveris North American Food & Consumer Flexibles /
          Chief Transformation Officer of Coveris Americas, a leading producer of flexible
          packaging. From 1999 to 2015, she was employed by Kraft Foods, with increasing
          levels of responsibility, most recently as Director of Finance – Grocery Business.
          From 1997 to 1999, she was a senior auditor with Grant Thornton LLP. Ms.



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    https://ir.mgpingredients.com/company-information/executive-team


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        Clark’s qualifications to serve on our Board include her significant financial,
        accounting, and public company leadership experience.

       Defendant Gerke

       31.    Defendant Gerke has served as a Company director since June 2021. He also serves

as the Chair of the Compensation Committee, and as a member of the Audit Committee and the

Nominating and Governance Committee.

       32.    The 2024 Proxy Statement stated the following about Defendant Gerke:

       Mr. Gerke served as the General Counsel and Chief Administrative Officer at H&R
       Block Inc. (NYSE: HRB), a global consumer tax services provider, from January
       2012 until January 2022 and as a Senior Vice President at H&R Block until his
       retirement in September 2022. He served in additional roles during his tenure at
       H&R Block, including Interim Chief Executive Officer and leader of the human
       resources function. From January 2011 to April 2011, Mr. Gerke served as
       Executive Vice President, General Counsel and Secretary of YRC Worldwide, a
       transportation service provider. From July 2009 to December 2010, Mr. Gerke
       served as Executive Vice Chairman of CenturyLink, an integrated communications
       business. From December 2007 to June 2009, he served as President and CEO at
       Embarq, an integrated communications business. He also held the position of
       Executive Vice President and General Counsel – Law and External Affairs at
       Embarq from May 2006 to December 2007. From October 1994 to May 2006, Mr.
       Gerke held a number of executive and legal positions with Sprint, serving as
       Executive Vice President and General Counsel for over two years. Mr. Gerke
       currently serves as a board member of Consolidated Communications Holdings,
       Inc. (Nasdaq:CNSL), a leading broadband and business communications provider.
       He was a member of the board of directors of Tallgrass Energy GP, LLC, which is
       the general partner of Tallgrass Energy, LP, from August 2015 to April 2020. He
       is also a past member of the boards of directors of CenturyLink, Embarq, the United
       States Telecom Association, the Rockhurst University Board of Trustees, and The
       Greater Kansas City Local Investment Commission Board of Trustees. Mr. Gerke’s
       qualifications to serve on our Board include his legal and regulatory experience, his
       strong human resources background, and his experience on the boards and as an
       executive for public companies.

       Defendant Lux

       33.    Defendant Lux has served as a Company director since June 2021. Since January

2024, he also serves as the Chairman of the Board. According to the 2024 Proxy Statement, as of

March 25, 2024, Defendant Lux beneficially owned 7,963,169 shares of the Company’s common



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stock, which represents 36.2% of all shares of Company common stock, making Defendant Lux

the controlling shareholder over matters voted on by common stock shareholders.

       34.     During the Relevant Period, while the Company’s stock price was artificially

inflated and before the scheme was exposed, Defendant Lux made the following sales of Company

common stock:

     Date                      Number of          Avg. Price/           Proceeds ($)
                               Shares             Share ($)
     May 10, 2023              10,000             $83.00                $829,970

     May 13, 2023              22,000             $82.84                $1,822,567

     June 9, 2023              2,005              $101.69               $203,888

     June 12, 2023             8,000              $101.56               $812,480

     May 14, 2024              20,000             $82.30                $1,645,980

     May 15, 2024              15,000             $81.90                $1,228,470
Thus, in total, before the fraud was exposed, Defendant Lux sold 77,005 shares of Company stock

on inside information, for which he received approximately $6.5 million in total proceeds. His

insider sales, made with knowledge of material nonpublic information before the material

misstatements and omissions were exposed, demonstrate his motive in facilitating and

participating in the scheme.

       35.     The 2024 Proxy Statement stated the following about Defendant Gerke:

       Mr. Lux served as President and Chief Executive Officer of Luxco, Inc., from 1991
       until March 2021, and as Chairman, from 2010 until March 2021, of Luxco, a
       leading branded beverage and alcohol company that we merged with in April 2021.
       Mr. Lux has served on the boards of the American Distilled Products Association
       and The National Alcohol Beverage Control Association (“NABCA”) Industry
       Advisory Committee, and he currently serves on the board of the St. Louis Regional
       Business Council. His philanthropic activities include serving on the boards of
       Social Venture Partners of St. Louis, the University City Children’s Lume Institute,
       the St. Louis Legacy Ice Foundation, the St. Louis Blues for Kids, and the Lux
       Family Foundation. Additionally, Mr. Lux is an avid pilot and donates time piloting
       his Pilatus PC-12 aircraft in support of the Veterans Airlift Command and Angel



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      Flight Central. Mr. Lux’s qualifications to serve on our Board include his leadership
      skills, his extensive expertise and experience in the beverage alcohol industry, his
      former role as Chief Executive Officer of Luxco, and his management of the growth
      and development of multi-brand beverage and alcohol portfolios.

      Defendant Michelson

      36.    Defendant Michelson has served as a Company director since May 2022. She also

serves as a member of the Audit Committee, Compensation Committee, and Nominating and

Governance Committee.

      37.    The 2024 Proxy Statement stated the following about Defendant Michelson:

      Ms. Michelson has been Chief People Officer at tms, a Havi Company, since
      December 2023. tms is a privately-owned company that unites technology,
      marketing, and sourcing to deliver change to leading brands. Previously, she was
      Vice President of Human Resources at CVS Health Corporation (NYSE: CVS), an
      American healthcare company, from November 2022 to December 2023. From
      March 2022 to November 2022, she was the Chief People Officer of AHEAD, Inc.,
      a digital business platform builder. From June 2019 to March 2022, she was
      employed by United Airlines as Managing Director of HR for the President, Chief
      Human Resources Officer and Chief Customer Officer. From December 2015 to
      June 2019, she worked for Molson Coors Beverage Company, in several positions
      of increasing responsibility, including as Senior HR Commercial Lead for
      MillerCoors. From 2012 to 2015, she was Vice President, Customer Experience &
      Organizational Effectiveness of The Y of Metropolitan Chicago. Prior to that, she
      was employed by Beam Global Spirits & Wine from 2010 to 2012 as Director,
      Marketing Strategy. From 2005 to 2009, she served as Senior Manager, Strategy—
      Tropicana Beverages, of PepsiCo. From 2000 to 2005, she served as Director,
      Strategy, Planning & Analysis for the Chicago Tribune Company. From 1999 to
      2000, she worked for Ernst & Young LLP as a Manager in its Mergers and
      Acquisitions practice group. Ms. Michelson’s qualifications to serve on our Board
      include her background in strategy and marketing for multiple consumer brands,
      her extensive experience in all aspects of human resources management, her
      alcohol beverage industry experience, and her leadership experience.

      Defendant Mingus

      38.    Defendant Mingus has served as a Company director since June 2020. She also

serves as a member of the Compensation Committee and the Nominating and Governance

Committee.




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       39.    During the Relevant Period, while the Company’s stock price was artificially

inflated and before the scheme was exposed, Defendant Mingus made the following sales of

Company common stock:

     Date                  Number of             Avg. Price/           Proceeds ($)
                           Shares                Share ($)
     May 25, 2023          608                   $99.71                $60,624.00

     May 26, 2023          400                   $97.34                $38,937.00

     May 30, 2023          3,692                 $94.92                $350,437.00

     June 9, 2023          1,096                 $101.06               $110,761.00

     July 3, 2023          2,268                 $106.61               $241,780.00

     August 1, 2023        320                   $112.62               $36,038.00

     August 2, 2023        324                   $113.19               $36,673.00

     August 8, 2023        1,215                 $122.17               $148,436.00

     September 1, 2023     591                   $120.32               $71,109.00

     October 2, 2023       383                   $104.69               $40,096.00

     November 1, 2023      108                   $93.92                $10,143.00

     December 4, 2023      1,061                 $90.63                $96,158.00

     January 2, 2024       354                   $99.21                $35,120.00

     February 15, 2024     113                   $90.00                $10,170.00

     May 22, 2024          2,430                 $78.88                $191,678.00

     August 23, 2024       2,764                 $90.46                $250,031.00

     September 4, 2024     100                   $90.02                $9,002.00
Thus, in total, before the fraud was exposed, Defendant Mingus sold 17,827 shares of Company

stock on inside information, for which she received approximately $1.7 million in total proceeds.

Her insider sales, made with knowledge of material nonpublic information before the material




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misstatements and omissions were exposed, demonstrate her motive in facilitating and

participating in the scheme.

       40.     The 2024 Proxy Statement stated the following about Defendant Mingus:

       Ms. Mingus is a principal and owner of Torpa Design Co., a company specializing
       in all facets of graphic design, interior design, and exterior design, a position she
       has held since 2005. Her career began in graphic design in 1996, and she has
       worked as a designer for public companies, national associations, and an
       advertising agency. Ms. Mingus serves as a trustee on the Evah C. Cray Historical
       Museum and as a board member on the Cray Medical Research Organization at the
       University of Kansas Medical Center. In addition, she serves as a board member on
       the Atchison Amelia Earhart Foundation. Ms. Mingus’s qualifications to serve on
       our Board include her business and civic experience and organizational skills, her
       knowledge of the Company and the industries in which we operate, and her
       familiarity with the community where we are headquartered. Ms. Mingus is the
       daughter of Ms. Seaberg.

       Defendant Rauckman

       41.     Defendant Rauckman has served as a Company director since June 2020. He also

serves as the Chair of the Nominating and Governance Committee and as a member of the Audit

Committee and the Compensation Committee.

       42.     The 2024 Proxy Statement stated the following about Defendant Rauckman:

       Mr. Rauckman owns and is a financial consultant at Rauckman Advisors, LLC,
       where he has worked since November 2017. Mr. Rauckman served as the Chief
       Financial Officer and Treasurer of Garmin Ltd. (Nasdaq: GRMN) from January
       1999 to December 2014 before taking early retirement from that role. He was
       named CFO of the Year by the Kansas City Business Journal in 2008. Mr.
       Rauckman currently serves as a board member and the Audit Committee Chairman
       of CrossFirst Bankshares, Inc. (Nasdaq: CFB), in a role he has held since May 2016.
       He has also served as a board member and Audit Committee Chairman of JE Dunn
       Construction Group, a privately held corporation, since January 2017. Mr.
       Rauckman’s qualifications to serve on our Board include his experience on the
       boards of other companies and his significant financial, corporate governance,
       leadership, operational, and strategic planning skills.

       Defendant Seaberg




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       43.    Defendant Seaberg has served as a Company director since August 2009. She also

serves as a member of the Compensation Committee and the Nominating and Governance

Committee. She also served as the Chair of the Board from 2014 through December 2024.

According to the 2024 Proxy Statement, as of March 25, 2024, Defendant Seaberg beneficially

owned 297 shares of the Company’s preferred stock, which represents 68% of all shares of

Company preferred stock, making Defendant Seaberg the controlling shareholder over matters

voted on by preferred stock shareholders.3

       44.    During the Relevant Period, while the Company’s stock price was artificially

inflated and before the scheme was exposed, Defendant Seaberg made the following sales of

Company common stock:

     Date                  Number of             Avg. Price/           Proceeds ($)
                           Shares                Share ($)
     May 25, 2023          608                   $99.71                $60,624

     May 26, 2023          400                   $97.34                $38,937

     May 30, 2023          3,692                 $94.92                $350,437

     June 20, 2023         985                   $101.70               $100,174

     July 3, 2023          4,264                 $106.59               $454,499

     July 5, 2023          7,334                 $106.58               $781,657

     August 2, 2023        880                   $113.57               $99,941

     September 5, 2023     853                   $117.22               $99,988

3
 According to the Form 10-K filed with the SEC on February 22, 2024, holders of the
Company’s preferred stock “are entitled to elect five of our nine directors and only holders of
our Preferred Stock are entitled to vote with respect to a merger, dissolution, lease, exchange
or sale of substantially all of our assets, or on an amendment to the Articles of Incorporation,
unless such action would increase or decrease the authorized shares or par value of the Common
or Preferred Stock, or change the powers, preferences or special rights of the Common or
Preferred Stock so as to affect the holders of Common Stock adversely. Generally, our Common
Stock and Preferred Stock vote as separate classes on all other matters requiring stockholder
approval.”


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     October 2, 2023           1,414               $103.46                $146,296

     October 3, 2023           9,204               $102.24                $941,016

     November 1, 2023          1,073               $93.20                 $100,003

     December 4, 2023          1,110               $90.09                 $99,999

     January 2, 2024           2,544               $99.09                 $252,079

     January 3, 2024           9,345               $96.30                 $899,923

     February 16, 2024         3,329               $90.11                 $299,976

     August 23, 2024           12,092              $90.64                 $1,095,970

     September 4, 2024         1,109               $90.14                 $99,965
Thus, in total, before the fraud was exposed, Defendant Seaberg sold 60,236 shares of Company

stock on inside information, for which she received approximately $5.9 million in total proceeds.

Her insider sales, made with knowledge of material nonpublic information before the material

misstatements and omissions were exposed, demonstrate her motive in facilitating and

participating in the scheme.

       45.     The 2024 Proxy Statement stated the following about Defendant Seaberg:

       Ms. Seaberg is a member of the Heartland Chapter of National Association of
       Corporate Directors and the Kansas City Chapter of Women Corporate Directors
       (“WCD”). She was an executive travel agent and minority owner of Travel Center
       of Atchison for 31 years. Ms. Seaberg is active in civic affairs at both the local and
       national level. She was the Kansas Governor’s Chair for the national Lewis and
       Clark Bicentennial Commemoration from 2002 to 2006, bringing one of 15 national
       events to Atchison, Leavenworth, and Kansas City in 2004. She also served on the
       Lewis & Clark Trail Heritage Foundation board, a national not-for-profit based in
       Great Falls, Montana, from 2003 to 2007 and as its national president from 2007 to
       2008. Ms. Seaberg has been the chair of the annual Amelia Earhart Festival since
       1997, which brings over 40,000 people to Atchison every year in July. Ms. Seaberg
       served on the Atchison Hospital Board from 1990 to 2004, and presently serves on
       the board of the Cray Medical Research Organization at the University of Kansas
       Medical Center. She also serves as a board member of the national Lewis and Clark
       Trust. Ms. Seaberg is president and founder of the Atchison Amelia Earhart
       Foundation, which opened a state-of-the-art STEM and history museum, the
       Amelia Earhart Hanger Museum, in April 2023 in Atchison. In 2015, she received
       the Hall of Fame award from the Chamber of Commerce and the Vision of



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       Excellence award from the Santa Fe Depot Trustees in Atchison. Ms. Seaberg’s
       qualifications to serve on our Board include her business and civic experience and
       organizational skills as well as her knowledge of the Company and the industries
       in which it operates. Ms. Seaberg is the granddaughter of Cloud L. Cray, Sr.,
       founder of the Company. Ms. Seaberg is Ms. Mingus’s mother.

       Defendant Siwak

       46.     Defendant Siwak has served as a Company director since May 2022. He also serves

as a member of the Compensation Committee and the Nominating and Governance Committee.

       47.     The 2024 Proxy Statement stated the following about Defendant Siwak:

       Mr. Siwak is the founding partner of Encore Group, a private equity fund focused
       on the consumer services sector. Prior to founding the Encore Group in November
       2022, Mr. Siwak was the Chief Business Officer for North America for the Ferrero
       Group, a global sweet snacking company, from September 2021 to October 2022.
       Prior to joining Ferrero, Mr. Siwak was the Chief Executive Officer of Ferrara
       Candy Company from April 2013 until September 2021. From April 2009 to March
       2013, Mr. Siwak was an operating partner for L Catteron Partners, a consumer-
       focused private equity group. From August 2005 to April 2007, Mr. Siwak was a
       founding partner of Mindseye Group, a private equity group. From December 1999
       to August 2005, Mr. Siwak was the Chief Executive Officer of TRG Accessories,
       a manufacturer of luggage and travel gear. Mr. Siwak’s qualifications to serve on
       our Board include his extensive leadership experience, his experience in the food
       industry, and his management, growth, and development of multi-brand portfolios.

               FIDUCIARY DUTIES OF THE INDIVIDUAL DEFENDANTS

       48.     By reason of their positions as controlling shareholders, officers, directors, and/or

fiduciaries of MGP and because of their ability to control the business and corporate affairs of

MGP, the Individual Defendants owed MGP and its shareholders fiduciary obligations of trust,

loyalty, good faith, and due care, and were and are required to use their utmost ability to control

and manage MGP in a fair, just, honest, and equitable manner. The Individual Defendants were

and are required to act in furtherance of the best interests of MGP and its shareholders so as to

benefit all shareholders equally.




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       49.     Each controlling shareholder, director, and officer of the Company owes to MGP

and its shareholders the fiduciary duty to exercise good faith and diligence in the administration

of the Company and in the use and preservation of its property and assets and the highest

obligations of fair dealing.

       50.     The Individual Defendants, because of their positions of control and authority as

controlling shareholders, directors, and/or officers of MGP, were able to and did, directly and/or

indirectly, exercise control over the wrongful acts complained of herein.

       51.     To discharge their duties, controlling shareholders, officers, and directors of MGP

were required to exercise reasonable and prudent supervision over the management, policies,

controls, and operations of the Company.

       52.     Each Individual Defendant, by virtue of his or her position as a controlling

shareholder, director, and/or officer, owed to the Company and to its shareholders the highest

fiduciary duties of loyalty, good faith, and the exercise of due care and diligence in the

management and administration of the affairs of the Company, as well as in the use and

preservation of its property and assets. The conduct of the Individual Defendants complained of

herein involves a knowing and culpable violation of their obligations as controlling shareholders,

directors, and officers of MGP, the absence of good faith on their part, or a reckless disregard for

their duties to the Company and its shareholders that the Individual Defendants were aware or

should have been aware posed a risk of serious injury to the Company. The conduct of the

Individual Defendants who were also controlling shareholders, officers, and directors of the

Company has been ratified by the remaining Individual Defendants who collectively comprised

MGP’s Board at all relevant times.




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       53.     As controlling shareholders, senior executive officers, and/or directors of a

publicly-traded company whose common stock was registered with the SEC pursuant to the

Exchange Act and traded on the NASDAQ, the Individual Defendants had a duty to prevent and

not to effect the dissemination of inaccurate and untruthful information with respect to the

Company’s financial condition, performance, growth, operations, financial statements, business,

products, management, earnings, internal controls, and present and future business prospects,

including the dissemination of false information regarding the Company’s business, prospects, and

operations, and had a duty to cause the Company to disclose in its regulatory filings with the SEC

all those facts described in this complaint that it failed to disclose, so that the market price of the

Company’s common stock would be based upon truthful and accurate information. Further, they

had a duty to ensure the Company remained in compliance with all applicable laws.

       54.     To discharge their duties, the controlling shareholders, officers, and directors of

MGP were required to exercise reasonable and prudent supervision over the management, policies,

practices, and internal controls of the Company. By virtue of such duties, the controlling

shareholders, officers, and directors of MGP were required to, among other things:

               (a)     ensure that the Company was operated in a diligent, honest, and prudent

manner in accordance with the laws and regulations of Kansas and the United States, and pursuant

to MGP’s own Code of Conduct (the “Code of Conduct”);

               (b)     conduct the affairs of the Company in an efficient, business-like manner so

as to make it possible to provide the highest quality performance of its business, to avoid wasting

the Company’s assets, and to maximize the value of the Company’s stock;




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               (c)     remain informed as to how MGP conducted its operations, and, upon receipt

of notice or information of imprudent or unsound conditions or practices, to make reasonable

inquiry in connection therewith, and to take steps to correct such conditions or practices;

               (d)     establish and maintain systematic and accurate records and reports of the

business and internal affairs of MGP and procedures for the reporting of the business and internal

affairs to the Board and to periodically investigate, or cause independent investigation to be made

of, said reports and records;

               (e)     maintain and implement an adequate and functioning system of internal

legal, financial, and management controls, such that MGP’s operations would comply with all

applicable laws and MGP’s financial statements and regulatory filings filed with the SEC and

disseminated to the public and the Company’s shareholders would be accurate;

               (f)     exercise reasonable control and supervision over the public statements

made by the Company’s officers and employees and any other reports or information that the

Company was required by law to disseminate;

               (g)     refrain from unduly benefiting themselves and other Company insiders at

the expense of the Company; and

               (h)     examine and evaluate any reports of examinations, audits, or other financial

information concerning the financial affairs of the Company and to make full and accurate

disclosure of all material facts concerning, inter alia, each of the subjects and duties set forth

above.

         55.   Each of the Individual Defendants further owed to MGP and the shareholders the

duty of loyalty requiring that each favor MGP’s interest and that of its shareholders over their own




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while conducting the affairs of the Company and refrain from using their position, influence or

knowledge of the affairs of the Company to gain personal advantage.

         56.   At all times relevant hereto, the Individual Defendants were the agents of each other

and of MGP and were at all times acting within the course and scope of such agency.

         57.   Because of their advisory, executive, managerial, directorial, and controlling

positions with MGP, each of the Individual Defendants had access to adverse, non-public

information about the Company.

         58.   The Individual Defendants, because of their positions of control and authority, were

able to and did, directly or indirectly, exercise control over the wrongful acts complained of herein,

as well as the contents of the various public statements issued by MGP.

         CONSPIRACY, AIDING AND ABETTING, AND CONCERTED ACTION

         59.   In committing the wrongful acts alleged herein, the Individual Defendants have

pursued, or joined in the pursuit of, a common course of conduct, and have acted in concert with

and conspired with one another in furtherance of their wrongdoing. The Individual Defendants

caused the Company to conceal the true facts as alleged herein. The Individual Defendants further

aided and abetted and/or assisted each other in breaching their respective duties.

         60.   The purpose and effect of the conspiracy, common enterprise, and/or common

course of conduct was, among other things, to: (i) facilitate and disguise the Individual Defendants’

violations of law, including breaches of fiduciary duty, unjust enrichment, waste of corporate

assets, gross mismanagement, abuse of control, and violations of the Exchange Act; (ii) conceal

adverse information concerning the Company’s operations, financial condition, legal compliance,

future business prospects and internal controls; and (iii) artificially inflate the Company’s stock

price.




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       61.     The Individual Defendants accomplished their conspiracy, common enterprise,

and/or common course of conduct by causing the Company to purposefully or recklessly conceal

material facts, fail to correct such misrepresentations, and violate applicable laws. In furtherance

of this plan, conspiracy, and course of conduct, the Individual Defendants collectively and

individually took the actions set forth herein. Because the actions described herein occurred under

the authority of the Board, each of the Individual Defendants who is a director of MGP was a

direct, necessary, and substantial participant in the conspiracy, common enterprise, and/or

common course of conduct complained of herein.

       62.     Each of the Individual Defendants aided and abetted and rendered substantial

assistance in the wrongs complained of herein. In taking such actions to substantially assist the

commission of the wrongdoing complained of herein, each of the Individual Defendants acted with

actual or constructive knowledge of the primary wrongdoing, either took direct part in, or

substantially assisted in the accomplishment of that wrongdoing, and was or should have been

aware of his or her overall contribution to and furtherance of the wrongdoing.

       63.     At all times relevant hereto, each of the Individual Defendants was the agent of

each of the other Individual Defendants and of MGP and was at all times acting within the course

and scope of such agency.

                                MGP’S CODE OF CONDUCT

       64.     The Code of Conduct states that the Code of Conduct “is applicable to all directors,

officers, and employees of” the Company. The Code of Conduct continues, stating that the

Company is “committed to conducting business with the highest ethical standards, integrity, and

social responsibility.”




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        65.     In a section titled “Financial Integrity and Accurate Business Records,” the Code

of Conduct states the following, in relevant part:

        MGPI is a public company that is committed to providing investors with full, fair,
        accurate, timely, and understandable disclosure in its financial statements and
        public communications. Employees responsible for these matters must: • comply
        with generally accepted accounting principles at all times; • maintain a system of
        internal controls that will provide reasonable assurances to management that all
        transactions are properly recorded; • maintain books and records that accurately and
        fairly reflect our transactions; • prohibit the establishment of any undisclosed or
        unrecorded funds, assets, or liabilities; • maintain a system of disclosure controls
        and procedures that will provide reasonable assurances to management that
        material information about us is made known to management, particularly during
        the periods in which our financial statements are being prepared; and • present
        information in our financial statements and public communications in a full, fair,
        accurate, timely, clear, and understandable manner.

        66.     In a section titled “Conflicts of Interest,” the Code of Conduct states the following,

in relevant part:

        A “conflict of interest” exists when a person’s private interest interferes in any way
        with the interests of the Company. You should avoid situations that may involve,
        or create the perception of, a conflict of interest.

        67.     In a section titled “Compliance with the Law,” the Code of Conduct states the

following, in relevant part:

        If we do not comply with the law, we will create problems for ourselves as well as
        those around us. Illegal actions damage reputations and erode the confidence and
        trust that others have placed in us. Accordingly, it is our policy that all laws be
        obeyed, however insignificant, and that this requirement must be placed ahead of
        our own personal interests and the Company’s operating results. The following are
        generalized comments on certain areas of the law and Company policies that you
        should always keep in mind.

                                                ***

        Improper Use of Confidential Information. Treat all non-public information about
        the Company as confidential. Confidential information is an item of Company
        property to be used only for the proper conduct of the Company’s business. You
        may not use it or allow others to use it to promote outside interests. You may share
        confidential information only with those who both have the authorization to access
        it and a need to know the information in order to do their jobs. Inappropriate,



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        intentional, or inadvertent disclosures may harm the Company’s business or its
        stockholders. These improper disclosures can damage customer relationships, give
        our competitors an edge, or result in illegal stock trading profits generated at the
        expense of the uninformed. For more information, see the Employee Handbook.

        Trading in MGPI’s Stock and Other Securities. You must comply with insider
        trading and securities laws that prohibit buying or selling a company’s securities
        while aware of material nonpublic information about a company or providing
        material nonpublic information to another person who trades on the basis of that
        information or passes that information to a third party who trades. For more
        information, see the Company's Insider Trading Policy.

        68.     In a section titled “Reporting Violations,” the Code of Conduct states the following,

in relevant part:

        Any supervisor or manager who observes conduct that may violate this Code of
        Conduct or who learns of a violation or potential violation of this Code of Conduct
        must promptly report the matter to the General Counsel.

        All violations of this Code of Conduct will be reported to the General Counsel, who
        will cause an appropriate investigation of the violation to be made as confidentially
        as possible. Any concerns reported to the General Counsel about financial
        accounting practices or the Company’s system of internal accounting controls will
        also be reported to the Chair of the Audit Committee.

        69.     In a section titled “Administration,” the Code of Conduct states the following:

        The Audit Committee is responsible for setting the standards set forth in this Code
        of Conduct and may update it from time to time. Any waiver of this Code of
        Conduct for members of the Board of Directors or executive officers may be made
        only by the Audit Committee and will be disclosed to the public as required by law
        or the rules of the Nasdaq Stock Market, when applicable. Waivers of this Code for
        other employees may be made only by our Chief Executive Officer or Chief
        Financial Officer and may be reported to the Audit Committee.

        70.     In violation of the Code of Conduct, the Individual Defendants conducted little, if

any, oversight of the Company’s engagement in the Individual Defendants’ scheme to issue

materially false and misleading statements to the public and to facilitate and disguise the Individual

Defendants’ violations of law, including breaches of fiduciary duty, gross mismanagement, abuse

of control, waste of corporate assets, unjust enrichment, and violations of the Exchange Act. Also,




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in violation of the Code of Conduct, the Individual Defendants failed to maintain internal controls,

failed to obtain waivers and/or failed to disclose obtained waivers of violating the Code of

Conduct, and failed to comply with laws and regulations, conduct business in an honest and ethical

manner, and properly report violations of the Codes of Ethics.

                          MGP’S AUDIT COMMITTEE CHARTER

       71.     According to the Audit Committee Charter, the “purpose” of the Audit Committee

is “to assist the Board in fulfilling its oversight responsibilities with respect to (i) accounting and

financial reporting processes, (ii) financial statement audits, and (iii) monitoring significant risk

exposures (footnotes omitted).”

       72.     The Audit Committee Charter delineates the duties and responsibilities of the

committee as follows, in relevant part:

       (a)    Review of Performance and Charter. The Committee will annually review
       its own performance and policies and procedures, including this Charter.

       (b)    Selection, Compensation, and Replacement of Independent Auditor. The
       Committee has sole authority to appoint, retain (with subsequent submission to the
       Company’s stockholders for ratification), compensate, evaluate, oversee, and
       terminate the firm of independent registered public accountants serving as the
       Company’s independent auditor (the “Independent Auditor”). The Committee will
       have oversight responsibility over the work of the Independent Auditor, and the
       Independent Auditor will report directly to the Committee.

                                              ***
       (d)     Independent Auditor Independence and Quality Control Procedures. The
       Committee will review and discuss the Independent Auditor’s independence and
       quality control procedures with the Independent Auditor, which will include:

                (i)    At least annually, review of a written statement delineating all
                relationships between the Independent Auditor and the Company,
                including the matters set forth in applicable Public Company Accounting
                Oversight Board (“PCAOB”) standards. The review will include an active
                dialogue with the Independent Auditor with respect to any disclosed
                relationships or services that may, in the view of the Committee, impact
                the objectivity and independence of the Independent Auditor. The
                Committee will take appropriate action in response to the Independent



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         Auditor’s report to satisfy itself of the Independent Auditor’s
         independence.

         (ii) At least annually, review of a report by the Independent Auditor
         describing the Independent Auditor’s internal quality-control procedures,
         any material issues raised by the most recent internal quality-control
         review, peer review, or PCAOB review of the Independent Auditor, or by
         any inquiry or investigation by governmental or professional authorities
         within the preceding five years, respecting one or more independent audits
         carried out by the Independent Auditor, and any steps taken to deal with
         such issues.

         (iii) Confirming that Independent Auditor complies with rotation
         requirements of the lead audit partner, as required by SEC rules, and
         considering the rotation of the accounting firm serving as the Independent
         Auditor.

         (iv) Review and approving the Company’s hiring policies related to
         employees or former employees of the Independent Auditor.

  (e)   Oversight of the Audit. The Committee will review:

         (i)   The plan for and scope of the annual audit of the Company’s
         financial statements.

         (ii) The qualifications and performance of the Independent Auditor,
         including the lead audit partner.

         (iii)   The results of the annual audit, including any critical audit matters.

         (iv)    All critical accounting policies and practices to be used in the audit.

         (v) Assurances provided by the Independent Auditor with respect to the
         compliance of the audit with the requirements of Section 10A(a) of the
         Exchange Act relating to the detection of certain illegal acts, the
         identification of certain related party transactions, and an evaluation of the
         Company’s ability to continue as a going concern.

         (vi) The manner in which the Company’s internal accounting team
         works in connection with the Independent Auditor, including
         management’s responses to recommendations made and plans for future
         audit coverage.

  (f)    Oversight of Financial Reporting, Financial Statements, and Published
  Statements. The Committee will:

          (i) Review and discuss with management and the Independent Auditor
          the Company’s financial statements and disclosures made in


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         “Management’s Discussion and Analysis of Financial Condition and
         Results of Operations” to be included in the Company’s annual and
         quarterly reports filed with the SEC on Form 10-K and Form 10-Q and
         the results of the Independent Auditor’s review of the quarterly financial
         statements included in the Company’s Quarterly Report on Form 10-Q.

         (ii) Provide a recommendation to the Board as to whether the audited
         financial statements should be included in the Company’s Annual Report
         on Form 10-K for the applicable fiscal year based on the review and
         discussions with management and the Independent Auditor relating to the
         annual financial statements and the audit.

         (iii) Review and discuss with management earnings press releases, non-
         GAAP financial measures, earnings guidance, as well as financial
         information provided to analysts and rating agencies. Such discussions
         may be done generally (e.g. as to the types of presentations made or the
         types of information disclosed).

         (iv) Review and approve the audit committee report required by SEC
         rules in the Company’s annual proxy statement.

         (v) Review and discuss with management and the Independent Auditor
         the effect of regulatory and accounting initiatives on the Company’s
         financial statements.

         (vi) Discuss with the Independent Auditor any matters required to be
         discussed by applicable requirements of the PCAOB and the SEC,
         including the Independent Auditor’s judgments about the quality, not just
         the acceptability, of the Company’s accounting principles as applied in its
         financial reporting.

         (vii) Discuss with management and the Independent Auditor significant
         financial reporting issues and judgments made in connection with the
         preparation of the Company’s financial statements; any significant
         changes made by management in the basic accounting principles and
         reporting standards used in the preparation of the Company’s financial
         statements; all alternative treatments of financial information within
         generally accepted accounting principles (“GAAP”) related to material
         items that have been discussed with management, including the
         ramifications of the use of such alternative disclosures and treatments and
         the treatment preferred by the Independent Auditor.

         (viii) Discuss with the Independent Auditor any recommendations of the
         Independent Auditor with respect to internal controls and other financial
         matters, including any perceived weaknesses in the Company’s internal
         controls, policies, and procedures, any special steps taken to address




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         material control deficiencies, and any recommendations regarding
         disclosures about changes in internal control over financial reporting.

         (ix) Discuss with the Independent Auditor management’s report on
         internal control over financial reporting and the Independent Auditor’s
         attestation of the report.

         (x) Discuss with management any significant deficiencies or material
         weaknesses in the design or operation of internal control over financial
         reporting which could adversely affect the Company’s ability to record,
         process, or summarize, and report financial data and any fraud, whether
         or not material, involving management or other employees who have a
         significant role in the Company’s internal control over financial reporting.

         (xi) Review and discuss with management and the Independent Auditor
         material written communications between management and the
         Independent Auditor, such as (a) any engagement letter or independence
         letter, (b) any management letter, any schedule of unadjusted differences
         and a listing of adjustments and reclassifications not recorded, if any, and
         management’s responses thereto, and (c) any reports on observations and
         recommendations on internal controls.

         (xii) Review with management and the Independent Auditor any
         published reports or any correspondence from governmental agencies
         which raise material issues regarding the Company’s accounting policies
         or financial statements.

                                       ***

  (h)   Internal Audit Matters. The Committee will:

          (i) Review the appointment, responsibilities, compensation, performance,
          plan, and replacement of persons performing the internal audit function.

          (ii) Receive reports directly from persons performing the internal audit
          function, including summaries of reports to management together with
          management’s responses and follow up to these reports.

          (iii) Periodically meet separately with persons performing the internal audit
          function, discussing any issues such persons believe warrant Committee
          attention.

          The persons performing the internal audit function will have unfettered access
          to the Committee.

  (i)   Risk Assessment. Periodically, the Committee will:




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                  (i) Discuss the Company’s major enterprise risk exposures, including
                  cybersecurity risks, and any steps Company management has taken to monitor,
                  manage, and mitigate such exposures.

                  (ii) Review legal and regulatory matters that may have a significant impact on
                  the financial statements, related Company compliance policies and programs
                  and material reports or inquiries received from regulatory agencies.

       73.    In violation of the Audit Committee Charter, the Individual Defendants (as key

officers and members of the Company’s Board) conducted little, if any, oversight of the

Company’s engagement in the Individual Defendants’ scheme to issue materially false and

misleading statements to the public and to facilitate and disguise the Individual Defendants’

violations of law, including breaches of fiduciary duty, unjust enrichment, gross mismanagement,

abuse of control, waste of corporate assets, and violations of the Exchange Act. Moreover, in

violation of the Audit Committee Charter, the Individual Defendants failed to maintain the

accuracy of the Company’s records and reports, comply with laws and regulations, act in good

faith and diligence without misstating, misrepresenting, or omitting material facts, and properly

report violations of the Audit Committee Charter.

                   THE INDIVIDUAL DEFENDANTS’ MISCONDUCT

       74.    MGP, headquartered in Atchison, Kansas, produces, distills, and distributes

alcoholic beverages and food ingredients. The Company’s business is split into three segments:

Distillery Solutions, Branded Spirits, and Ingredient Solutions. Distillery Solutions consists of

food grade alcohol to be used as an ingredient in food products, personal care products, cleaning

solutions, and pharmaceuticals. Branded Spirits consists of premium plus, ultra-premium, super

premium, premium, mid, and value branded distilled spirits for consumption.




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       75.     The Company’s products are sold either directly or through distributors to

manufacturers and processors of finished packaged goods. Many of the Company’s customers are

businesses, although the Company’s branded products may be sold directly to individuals.

       76.     The COVID-19 pandemic brought social isolation for many across the world, as

well as the stress that comes with such isolation. As a result, many people began to consume

alcohol in greater quantities than they had prior to the pandemic.

       77.     As a result of this uptick in drinking, liquor companies, including MGP, benefitted

considerably throughout the pandemic. In order to properly take advantage of this boom in alcohol

demand, the Company increased its production.

       78.     However, by the end of 2022, it was becoming increasingly clear that demand was

beginning to slow and return to pre-pandemic levels. As such, at the beginning of the Relevant

Period, and even before, the Company’s inventory levels as well as industry-wide demand were at

the top of investors’ minds.

       False and Misleading Statements

May 4, 2023 Press Release

       79.     On May 4, 2023, the Company issued the Q1 2023 Earnings Release on Form 8-K

with the SEC. The Q1 2023 Earnings Release revealed that the Company had surpassed its

financial estimates for the first quarter of the 2023 Fiscal Year.

       80.     The Q1 2023 Earnings Release also quoted Defendant Colo, who elaborated on the

Company’s growth in the first quarter, as well as how it intends to continue that growth. Defendant

Colo was quoted as stating that “[s]ales of brown goods grew 10% from the prior year period to

record levels, driven by strong new distillate customer commitments, higher pricing across all

brown goods, and stronger than expected customer demand for spot purchases. Within our Branded

Spirits segment, revenue grew 2% and we recently realigned our national distribution capabilities


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with Republic National Distributing Company (“RNDC”) toward the end of the quarter. We

believe this realignment with RNDC, as well as continued investment in our premium plus family

of spirits brands, continues to position us well for incremental growth and margin expansion

opportunities going forward.”

May 4, 2023 Earnings Call

       81.    That same day, the Company hosted the Q1 2023 Earnings Call with investors to

discuss the Company’s first quarter financial results. During his scripted remarks on the Q1 2023

Earnings Call, Defendant Colo emphasized the Company’s growth over the quarter, stating:

       Sales of our premium beverage alcohol increased 2%, with continued strength in
       brown goods sales this quarter, supported by ongoing solid demand for our new
       distillate and aged whiskey. We remain confident that our significant share, scale
       advantage and our aging whiskey inventory position, will continue to support the
       demand within the American whiskey category.

       We’re pleased with the improvement in demand visibility and consistency, that we
       achieved in brown goods as brown good sales growth continues to outpace longer-
       term market trends, and is primarily driven by craft as well as multinational
       customers. In an effort to moderate the impact of increased input costs, and excess
       supply available in the market, for industrial alcohol and white goods, as discussed
       on our previous call, we reduced the volumes produced and sold of our industrial
       alcohol and white goods products during the first quarter, to minimize the negative
       impact on our profitability.

       82.    In concluding the Company’s scripted remarks, Defendant Colo expressed

optimism surrounding the Company’s demand for its products, stating:

       We are pleased with the solid results delivered this quarter, despite increased costs
       and broader macroeconomic uncertainty. Demand for our products in each of our
       three segments remains strong and we believe our business continues to be well
       positioned. We expect to maintain a high level of operational execution and remain
       deliberate in our actions, as we navigate the market dynamics this year, which is
       why we are reconfirming our full year fiscal 2023 guidance.




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       83.    During the question-and-answer portion of the Q1 2023 Earnings Call, the

Individual Defendants fielded a number of questions pertaining to the Company’s inventory levels.

Defendant Colo replied to one analyst’s question as:

       Vivien Azer – TD Cowen: And then my follow-up question is on the commentary
       around inventories. Thank you very much for the incremental color on what it
       would have looked like or your top line would have looked like ex-Yellowstone.
       Can you comment at all on kind of more broadly like, what you’re hearing from
       your wholesalers comfort around inventory levels, as we’ve gone through earnings
       season, it does seem -- and it’s consistent with your script, there’s a lot of caution
       around the US consumer. So I’m just kind of wondering, what wholesaler comfort
       level is with inventories today, what your comfort level is with your inventories
       today? Thank you.

       Defendant Colo: Yes. I think in general, I’d say that the distributors may be hearing
       a little more inventory at this point than normal. However, kind of the other thing
       that I think, we’re anticipating at the distributor level is with interest rates
       continuing to rise and at the level they are now. It wouldn’t surprise us if some of
       the distributors maybe carried less inventory going forward, because their carrying
       costs are going to be significantly higher than they were even a year ago. But that’s
       kind of a different issue than the demand side of the equation really to inventory,
       Vivien. But those are a couple of our observations in the market right now.

       Azer: That’s a really interesting consideration to call out. Is that factored into your
       full year guidance?

       Defendant Colo: It is at this point, yes.

       84.     In a later question from a different analyst pertaining to the Company’s inventory,

Defendant Colo replied:

       Sean McGowan – ROTH Capital Partners: Question on inventory, would you
       expect inventory levels to stay somewhat elevated in relation to sales as the year
       progresses, or will that be worked down to kind of be more in line with the sales
       growth at the end of the year?

       Defendant Colo: That’s our expectation. Sean, we think that the year presses again
       particularly in line if you look at the carrying cost in the current interest rate
       environment we expect that inventory levels will pretty much -- shipments should
       equal to completions is the ideal way the industry runs and we anticipate that as
       the year plays out that’s where the inventories will kind of normalize too.

November 2, 2023 Press Release



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           85.    On November 2, 2023, the Company issued a press release announcing its financial

results for the third quarter of the 2023 Fiscal Year, which it also filed on Form 8-K with the SEC

(the “Q3 2023 Earnings Release”). In the Q3 2023 Earnings Release, the Company highlighted its

sales in brown goods. Specifically, the Q3 2023 Earnings Release quoted Defendant Colo as

stating the sales were “driven by strong demand for our new distillate and aged whiskey.”

November 2, 2023 Earnings Call

           86.    That same day, the Company hosted an earnings call with investors and analysts to

discuss the third quarter results (the “Q3 2023 Earnings Call”). During his scripted remarks on the

Q3 2023 Earnings Call, Defendant Colo emphasized the growth in sales of brown goods.

Defendant Colo even went so far as to suggest that sales for brown goods in 2024 were locked in,

stating:

           Brown goods sales growth has continued to outpace longer term market trends and
           has been primarily driven by craft, as well as multinational customers. Our
           confidence in our brown goods sales visibility for the balance of the year remains
           high.

           Looking ahead to fiscal 2024, our visibility is also improving as we believe we now
           have the vast majority of our expected Distilling Solutions segment brown goods
           sales for 2024 already committed.

           We believe we are well positioned to support continued growth in the American
           whiskey category. We will continue to be strategic with our aged whiskey sales to
           enable us to meet expected customer needs for the balance of this year, as well as
           position us to meet anticipated customer needs in the coming years.

           87.    In discussing inventory in his scripted remarks, Defendant Colo stated that the

Individual Defendants “remain confident that inventory destocking for our brands is close to

running its course, and we are focused on driving velocity and points of distribution across our

portfolio of brands.”




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       88.      In his concluding remarks, Defendant Colo continued to reiterate that “[d]emand

for our products in each of the three segments remain strong and we believe our actions will

continue to position the business for long-term success.”

       89.      In the question-and-answer portion of the Q3 2023 Earnings Call, an analyst from

Truist Securities stated his concern about the Company’s inventory levels, to which Defendant

Colo replied:

       Bill Chappell – Truist Securities: A couple of questions. I guess, first on the
       Branded Spirits business, you talked that you were still working through some of
       kind of the excess inventory within channels and I think the whole industry is. I
       mean, any way to quantify like what sales could have been or how much that
       impacted branded sales, because still 6% year-over-year is pretty solid. So just
       trying to understand or did it really was a very small impact and no impact is
       expected going forward?

       Defendant Colo: Yeah. I think, Bill, we discussed this a little bit on the last quarter
       call, but we feel like we are pretty much through any issues with excess inventory
       at the distributor level. There may be a few brands that we still have a little bit to
       work through, but there was really, I don’t think our revenue was materially
       impacted due to any excess inventory issues in the channel.

       90.      A TD Cowen analyst then inquired about the volume of brown goods and white

goods, to which Defendant Gall replied:

       Viven Azer – TD Cowen: Hi. Thank you. Good morning and I’d like to echo my
       congratulations to Dave. My first question is on the Distillery Products segment,
       another very nice quarter of price mix realization in premium beverage alcohol, of
       course, volumes are under pressure. I was wondering whether you could offer some
       commentary on kind of the volume dynamics between brown goods and white
       goods in the quarter, please? Thanks.

       Defendant Gall: Yeah. Vivien, this is Brandon. So, yeah, in our Q, we do break out
       premium beverage alcohol, which includes both brown goods and white goods, and
       within that, we share that sales are up 13%, but volume to your point is off 15%
       and that 15% downdraft is all directly related to white goods and industrial alcohol.
       So our demand for our brown goods from a volume standpoint remains intact, but
       I will share the majority of the 28% growth in brown goods in the quarter was price
       driven.




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       91.     Defendant Colo then added that “from our perspective, on our inventories, et cetera,

what we try to do is balance particularly on our aged side. Our inventory needs and build of

inventory with our anticipated future customer needs and demand. And we are still in that position

today, we make our laydown decisions based on those anticipated needs and we are not seeing

anything today that would tell us that we, as a company, are imbalanced in that particular regard.”

       92.     The above statements in ¶¶79-91 were materially false and misleading because they

failed to disclose, inter alia, that: (1) despite their claims, the Individual Defendants did not have

a good sense as the decreasing demand in the industry; (2) as a result of the foregoing, the

Company failed to adjust its production and inventory levels accordingly; (3) because of this, the

Company’s inventory levels remained unsustainably high while demand for its products decreased;

and (4) the Company failed to maintain internal controls. As a result, the Individual Defendants’

statements about the Company’s business, operations, and prospects were materially false and

misleading and/or lacked a reasonable basis at all relevant times.

       The Truth Begins Emerging While False and Misleading Statements Continue

February 22, 2024 Press Release

       93.     On February 22, 2024, the Company issued a press release announcing its fourth

quarter and year-end results for the 2023 Fiscal Year, which it later filed on Form 8-K with the

SEC (the “FY 2023 Earnings Release”). The FY 2023 Earnings Release quoted Defendant

Bratcher, the Company’s new CEO following Defendant Colo’s retirement, as stating that

“[d]emand for our new distillate and aged whiskey was strong, which resulted in brown goods

sales increasing 39% and 26% for the fourth quarter and full year 2023, respectively, as compared

to the prior year periods.” Defendant Bratcher continued to state that “[w]e are very pleased with




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our performance for the quarter and full year and remain confident in the long-term sustainability

of our business model.”

       94.     Despite the positivity from Defendant Bratcher regarding the end of the 2023 Fiscal

Year, as well as the Company surpassing analyst expectations for the 2023 Fiscal Year, the FY

2023 Earnings Release also revealed disappointing guidance for the upcoming 2024 Fiscal Year.

The FY 2023 Earnings Release revealed full-year revenue guidance of $749 million at the

midpoint, 4.9% below street consensus.

       February 22, 2024 Earnings Call

       95.     That same day, the Company hosted an earnings call with analysts and investors to

discuss the year-end results (the “FY 2023 Earnings Call”). On the FY 2023 Earnings Call,

Defendant Bratcher explained the disappointing guidance while confirming industry reports,

stating that “inventory destocking at a wholesale level will remain an issue for the branded spirits

industry in 2024.” Trying to downplay the negativity however, Defendant Bratcher went on to

state that the Company “work[ed] closely with our distributors throughout 2023” and ““made

significant progress in managing wholesaler inventory for our portfolio.” In terms of demand,

Defendant Bratcher stated ““[h]ealthy demand for our products continue and we believe our

business remains well-positioned.”

       96.     Continuing to discuss inventory levels, Defendant Bratcher went on to state that

“more than 90% of our new distillate whiskey sales volume is committed in 2024, compared to

50% of our aged whiskey sales volume committed,” which he believed was a positive sign for the

sales of American whiskey. Defendant Bratcher did caveat these sentiments however, stating that

“[w]e expect total aged whiskey revenues in 2024 to be less than 2023, due to our strategy of

developing longer-term stability with new distillate and because of our success in working with




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longer-term craft customers, who started their brands with aged whiskey and are now moving into

the new distillate market.”

       97.     During the question-and-answer portion of the call, the Individual Defendants did

their best to downplay any potential concerns investors may have pertaining to the newly revealed

guidance. In one exchange with a Truist Securities analyst, Defendant Gall elaborated:

       Bill Chappell – Truist Securities: Just wanted to go back on the kind of the new
       distillate sales, and I think one of the things you said was total sales would be down
       in ‘24 versus ‘23. So if you maybe could give some more color, I think you kind of
       explained what was some customer changes and stuff like that, but try to understand
       that?

       And then also, you had mentioned that you’re monitoring the overall American
       whiskey supply levels, and that might be a headwind. So kind of maybe help us
       understand that? Are you talking about at retail or are you talking about supply of
       other players coming for new distillate?

       Defendant Gall: Yeah, Bill. I’ll start on that. Yeah, thanks for giving us the
       opportunity to clarify. So we do not expect new distillate sales to decline year-
       over-year. In fact, we expect brown goods sales in total to continue to grow in
       line with or better than the broader category of American whiskey in 2024. What
       we’re trying to get across in our prepared remarks is that the proportion of new
       distillate sales versus aged sales has been growing. And that has been deliberate
       as David mentioned on the call. And the reason for that is as our customers that
       traditionally bought aged, as they continue to mature and grow, they’re now better
       able to finance new distillate.

       And so we’re leaning into that because there’s a lot of attributes of new distillate
       customers that we find attractive, such as the greater visibility they provide and the
       greater cash flow characteristics of sliding (ph) distillate versus aged brings. As far
       as moderating the overall supply to the industry, that’s not our plan. We’re
       continuing to grow with our portfolio and with our customers. And as such, the mix
       may change more towards new versus aged, but we continue to grow at the same
       pace or better than the American whiskey category as we’ve done in recent years.

       98.     Defendant Bratcher also added in some points to clarify the situation, stating:

       Yeah. I’ll add to that too, just in clarification. The new distillate focus is really
       critical for our business. It gives us longer-term arrangements, financial stability,
       and visibility for multi-years on average. It’s a better business for us in terms of
       understanding the impact financially on the overall business. It also is somewhat a
       normal cycle, as the category continues to grow and some of our previous craft



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       customers become bigger, they’re naturally going to switch over to new distillate
       supply, that’s just normal. There is no -- we have no plans to moderate our supply
       to it.

       As a matter of fact, we’ve taken just the opposite approach, as you heard in our call
       (ph) script, that we’re expanding one of our major distilleries in Kentucky, basically
       doubling its capacity and we expect it to come online mid-year. So we’re very
       optimistic about Branded sales and a plan to expand and continue to grow with the
       segment.

       99.     The same analyst then asked a follow-up question regarding potential slow-downs,

to which Defendant Bratcher replied:

       Chappell: Got it. Now that helps. And then if I’m looking at the, just the aged
       demand, I understand that you’re naturally kind of leaning into the new, but are you
       hearing from your customers, now you have 800 customers, any worries that there’s
       going to be a slowdown in brown good demand three, four years out from now, or
       is kind of the overall interest pretty much the same as it has been the past few years?

       Defendant Bratcher: I think what we could say on that is that if we look at our aged
       distillate and when you referenced about 50% of it being obligated, that’s actually
       pretty high number on aged because most of these tend to be craft customers or new
       entrants into the category. So actually we feel pretty good about the amount that we
       have contracted and how that relates to any potential unknown is, is that, those the
       craft -- the craft distilleries or craft brand companies are subject to the same
       inventory, retail, wholesale level type of inventory situations as anybody.

       And so with higher interest rates and everything else, they’re being a little more
       cautious with their investment. In the past, we’ve saw them buy just so they could
       corner their piece of the business. Now you’re starting to see them switch to more
       just-in-time type of demand. They want to transact, know they can fill the product
       and get it right through the shelf, given the high interest rates that they operate in.

       100.    The same analyst asked one final question regarding the potential of the Company

experiencing a flat quarter due to destocking, to which Defendant Bratcher replied:

       Chappell: Got it. And last question, just on the aged, sorry, on the Branded
       portfolio, your comments about there’s still some destocking at distributors and
       stuff like that, does that mean, I thought most of the impact you kind of saw in the
       first half of last year, do you expect a quarter where we could be flat to down for
       that overall business, excluding Penelope or is most of the heavy destocking done?

       Defendant Bratcher: The comment in general was about the industry overall. There
       is still a push on inventory destocking for the industry overall. As it relates



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       specifically to our business, we’ve worked really hard in the past year to manage
       that -- actively manage that with our wholesalers. We believe we have it in a
       controllable area of data on hand. At the end of the day, the wholesalers do control
       the inventory and they place the order and they decide what the number is. I think
       our exposure on it for us is smaller than, let’s say, our peer set because I think
       we’ve done a really good job of managing it in 2023.

       101.       On this news, the price per share of MGP stock fell $13.65, or 14.9%, from closing

at a price of $91.83 per share on February 21, 2024, to close at a price of $78.14 per share on

February 22, 2024. However, the Individual Defendants continued to obfuscate the truth in its

public statements pertaining to demand for the Company’s product and its inventory levels,

including in the above statements.

2024 Proxy Statement

       102.       On April 9, 2024, the Company filed the 2024 Proxy Statement with the SEC.

Defendants Bratcher, Clark, Gerke, Lux, Michelson, Mingus, Rauckman, Seaberg, and Siwak

solicited the 2024 Proxy Statement, pursuant to Section 14(a) of the Exchange Act, which

contained material misstatements and omissions.

       103.       The 2024 Proxy Statement called for the Company’s shareholders to vote to, inter

alia: (1) re-elect Defendants Bratcher, Clark, Gerke, Lux, Michelson, Mingus, Rauckman,

Seaberg, and Siwak to the Board; (2) ratify the selection of KPMG LLP as the Company’s

independent registered public accounting firm for the 2024 Fiscal year; (3) approve, on an advisory

basis, the compensation of the Company’s named executive officers; and (4) approve the 2024

Incentive Plan.

       104.       The 2024 Proxy Statement noted that if the MGP shareholders approved the 2024

Incentive Plan, it would become effective immediately, as the pre-existing 2014 plans had

otherwise expired on April 1, 2024. Further, the 2024 Proxy Statement noted that approval of the

2024 Incentive Plan will cause 1,320,000 shares to be made available under the 2024 Incentive




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Plan for issuance. Additionally, the 2024 Incentive Plan makes clear that employees and non-

employee directors alike are eligible to receive compensation under the plan, and that there is no

separate non-employee director incentive plan.

       105.    Regarding the “Board Role in Risk Oversight,” the 2024 Proxy Statement stated

the following, in relevant part:

       Our Board as a whole has ultimate responsibility for risk oversight. It exercises this
       oversight function through its standing committees, each of which has primary risk
       oversight accountability for matters relating to their respective area of
       responsibility, as detailed below. The independent structure of our Board and Board
       committees allows for objective risk oversight.

           •   Audit Committee: Oversees the integrity of our financial statement and
               financial reporting process, risks related to our financial reporting practices
               and internal controls, and our enterprise risk management (“ERM”) process,
               which includes cybersecurity risks.

               As part of our ERM process, management regularly identifies, evaluates,
               and prioritizes potential risks and creates a risk register of these risks. Our
               executive management team and business unit leaders decide on actions and
               strategies to use to mitigate our risks based on this risk register. Our ERM
               process and risk register were reviewed with the Audit Committee, along
               with our strategies for managing our risks, at three meetings during 2023.

           •   Human Resources and Compensation Committee: Oversees risks related to
               our compensation policies and practices as well as human capital
               management.

           •   Nominating and Corporate Governance Committee: Oversees risks related
               to our corporate governance, governance structure, Board composition,
               Board independence, as well as environmental, social, and governance
               (“ESG”) matters, except those matters overseen by another Board
               committee (such as human capital management).

       106.    Regarding the Code of Conduct, the 2024 Proxy Statement stated the following:

       Our Board has adopted Corporate Governance Guidelines, which are available on
       the Governance page of the Investor Relations section of our website at
       ir.mgpingredients.com/corporate-governance/governance-documents, along with
       our Board committee charters and Code of Conduct.




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       107.    Defendants Bratcher, Clark, Gerke, Lux, Michelson, Mingus, Rauckman, Seaberg,

and Siwak caused the 2024 Proxy Statement to be false and misleading by failing to disclose, inter

alia, that: (1) despite their claims, the Individual Defendants did not have a good sense as the

decreasing demand in the industry; (2) as a result of the foregoing, the Company failed to adjust

its production and inventory levels accordingly; (3) because of this, the Company’s inventory

levels remained unsustainably high while demand for its products decreased; (4) the Individual

Defendants were improperly interested in increasing their future compensation by seeking

shareholder approval of the 2024 Incentive Plan; and (5) the Company failed to maintain internal

controls. As a result, the Individual Defendants’ statements about the Company’s business,

operations, and prospects were materially false and misleading and/or lacked a reasonable basis at

all relevant times.

       108.    The 2024 Proxy Statement was also materially false and misleading because,

despite assertions to the contrary, the Company’s Code of Conduct was not followed, as evidenced

by the Individual Defendants (1) making and/or causing the Company to make the numerous false

and misleading statements and omissions alleged herein; and (2) failing to report violations of the

Code of Conduct. Further, the 2024 Proxy Statement was materially false and misleading because,

despite assertions to the contrary, the Board was not adequately performing its risk oversight

functions.

       109.    As a result of Defendants Bratcher, Clark, Gerke, Lux, Michelson, Mingus,

Rauckman, Seaberg, and Siwak causing the 2024 Proxy Statement to be false and misleading,

Company shareholders voted, inter alia, to: (1) re-elect Defendants Bratcher, Clark, Gerke, Lux,

Michelson, Mingus, Rauckman, Seaberg, and Siwak to the Board, thereby allowing them to

continue to breach their fiduciary duties to the Company; (2) ratify the selection of KPMG LLP as




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the Company’s independent registered public accounting firm for the 2024 Fiscal Year; (3)

approve named executive officer compensation on an advisory, non-binding basis; and (4) approve

the 2024 Incentive Plan.

       110.     As a result of the shareholders approving the 2024 Incentive Plan, the plan took

effect immediately upon reaching shareholder approval. Additionally, there were 1,320,000 shares

available for issuance under the 2024 Incentive Plan. The Individual Defendants, including many

of whom are current directors of the Company, received material personal benefits that they

otherwise would not have received but for the issuance of the false and misleading 2024 Proxy

Statement and the shareholders approving the 2024 Incentive Plan. Moreover, certain of the

Individual Defendants continue to receive material personal benefits in the form of stock awards

and will continue to receive material personal benefits in the form of stock awards pursuant to the

2024 Incentive Plan in the future.

May 2, 2024 Earnings Call

       111.     On May 2, 2024, the Company announced its financial results for the first quarter

of the 2024 Fiscal Year. That same day, the Company hosted an earnings call with investors and

analysts to discuss the results (the “Q1 2024 Earnings Call”). On the Q1 2024 Earnings Call,

Defendant Gall reiterated a point made by Defendant Bratcher in the FY 2023 Earnings Call,

namely that the Company ““continue[s] to monitor the potential impact of inventory levels at

distributors overall, American whiskey supply and consumption patterns and inflation,” while the

Company was also ““uniquely positioned to grow as a company in this dynamic operating

environment.”

       112.     For his part during the Q1 2024 Earnings Call, Defendant Bratcher noted how the

Company’s inventory had “stabilized” as the Company “worked really hard with our distributors




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and understanding the inventory levels and managing [how] to meet customer demand.”

Additionally, Defendant Bratcher mentioned that “destocking for us at a distributor level is not a

core issue,” as the Company was able to “get that inventory manage[d] to the right level[.]”

August 1, 2024 Earnings Call

       113.     On August 1, 2024, the Company announced its financial results for the second

quarter of the 2024 Fiscal Year. That same day, the Company hosted an earnings call with investors

to discuss the results (the “Q2 2024 Earnings Call”).

       114.     On the Q2 2024 Earnings Call, Defendant Bratcher discussed how he was “proud

of our sales team for their nimbleness as they continue to work with our branded customers to help

them successfully adapt to the current consumption and inventory patterns at distributor and

retailer levels.” Additionally, Defendant Bratcher touched on any inventory concerns, by stating

that “[d]istributor inventories for our branded portfolio remain relatively stable, even below

historical levels.” Defendant Gall repeated this sentiment later on the call, stating “[d]istributor

inventory levels for our brands are in good shape.” Defendant Bratcher further added that

“inventory is exactly where we need,” as the Company “continue[d] to monitor [inventories] on a

daily basis.”

       115.     The above statements in ¶¶93, 95-100 and 111-114 were materially false and

misleading because they failed to disclose, inter alia, that: (1) despite their claims, the Individual

Defendants did not have a good sense of the decreasing demand in the industry; (2) as a result of

the foregoing, the Company failed to adjust its production and inventory levels accordingly; (3)

because of this, the Company’s inventory levels remained unsustainably high while demand for

its products decreased; (4) the Individual Defendants were improperly interested in increasing their

future compensation by seeking shareholder approval of the 2024 Incentive Plan; and (5) the




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Company failed to maintain internal controls. As a result, the Individual Defendants’ statements

about the Company’s business, operations, and prospects were materially false and misleading

and/or lacked a reasonable basis at all relevant times.

                                    The Truth Fully Emerges

October 17, 2024 Press Release

       116.    The truth began to emerge on October 17, 2024, when the Company issued a press

release that it filed with the SEC on Form 8-K announcing its preliminary financial results for the

third quarter of the 2024 Fiscal Year (the “Q3 2024 Preliminary Earnings Release”). The Q3 2024

Preliminary Earnings Release revealed an anticipated 14% decrease in the Company’s sales year-

over-year. As such, the Q3 2024 Preliminary Earnings Release further revealed the Company was

forced to negatively update its guidance.

       117.    The Q3 2024 Preliminary Earnings Release included a quote from Defendant

Bratcher, who finally admitted to investors what they had been fearing, and the Company had been

deflecting, for a long time: that the Company’s high inventory levels were a significant issue. In

full, Defendant Bratcher stated that “[s]oft alcohol spirits category trends and elevated industry-

wide whiskey inventories are putting greater than expected pressure on our brown goods business

with a larger impact on our smaller, craft customer base. We expect these industry headwinds to

persist at least through the rest of the year and will share details about our 2025 outlook with our

fourth quarter 2024 earnings release.”

       118.    On this news, the price per share of MGP stock fell $24.07 over the course of three

trading days, or 29.5%, from closing at a price of $81.57 per share on October 17, 2024, to close

at a price of $57.50 per share on October 22, 2024.

October 31, 2024 Press Release




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       119.    The truth fully emerged on October 31, 2024, when the Company the Q3 2024

Earnings Release. The Q3 2024 Earnings Release revealed that, as the result of ““the softening

American whiskey category trends and elevated industry-wide barrel inventories,” the Company

needed to “further lower our net aging whiskey put away, scale down our whiskey production, and

optimize our cost structure to mitigate lower production volumes.”

October 31, 2024 Earnings Call

       120.    That same day, the Company hosted the Q3 2024 Earnings Call with investors. On

the Q3 2024 Earnings Call, Defendant Bratcher admitted that “slower growth and higher

inventories are leading to lower demand, lower prices and reduced visibility on our contract

distilling sales.” Defendant Gall then added that as a result, the Company would “significantly

reducing our brown goods production to better align with demand in 2025. At the same time,

softer American whiskey growth and elevated barrel inventories continue to constrain demand for

aged whiskey and increasingly our new distillate.”

       121.    Analysts pulled no punches during the question-and-answer portion of the Q3 2024

Earnings Call, with one Truist Securities analyst going so far as to tell the Individual Defendants

that “we’ve seen a slowdown in American whiskey consumption now for 12, almost 18 months.

And so I guess the surprise factor is that you’re just realizing it, seeing it now.”

       122.    In response to a question from a Sturdivant analyst as to how the Individual

Defendants “missed” signs of the liquor slowdown, Defendant Bratcher explained:

       Mitch Pinheiro – Sturdivant: Okay. Then getting back to the -- it does surprise me
       that industry-wide everybody sort of missed the slowdown. I’m curious whether
       any of that has to do with any on-premise, off-premise trends that may have been
       missed?

       And then the second question is, what also may have been missed, which I’ve been
       seeing for a while is, consumer liquor cabinet destocking. Once you can -- once
       you’re able to get your favorite brand back during the COVID error, it was hard to



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       find it. And if you found a bottle or 2, you bought 2 or 3 or 4 bottles because you
       weren’t sure you were ever going to see them again.

       And I guess at some point, consumers decided -- they felt more comfortable with
       starting to see their favorite brands on the shelves and starting to -- instead of buying
       it, just going through their own cabinet and reducing their own inventory, I guess
       there’s no way -- Have you done any research on that part of the equation as far as
       the slowdown in consumption is concerned? And just also the comments on the
       premise versus -- on-premise versus off-premise missing the slowdown here?

       Defendant Bratcher: Okay. And I’ll take that one. So in general, if you think about
       on-premise versus off-premise, the mix is roughly the same, but the problem post-
       COVID, there’s not as many as on-premises there was. So you’re still seeing that
       being relaunched over time. I’m not going to attribute that mix to the industry’s
       view on why it happened. I tend to take more of a macro view on this. I tend to
       think that we’re in the middle of an election. We’ve had all kinds of interesting
       things going on in the environment. Consumer spending is a little bit slower than
       this.

       I think there’s a lot of external pressures going on here that is making that consumer
       make different choices, all right? And so I don’t want to speculate on they’re selling
       more there or not selling more there. I’m attributing it to that consumer. I also bring
       it back to this COVID piece. Having done this for 30 years in the brands, what
       we’re selling back to is about what we should be in the industry. COVID was great
       for our industry for the period of time.

       And now when we all reflect back and we look at these last few years of correction,
       and it is inventory destocking at a wholesaler, it is inventory destocking in a pantry.
       You’ve got multitudes of variables coming to a head. Those 2 shall pass. Now what
       we all are terrible at doing, myself and everybody else in the industry is telling you
       exactly when that’s going to pass. You know why? Because we can’t read the
       consumers’ minds. We can only watch what they’re doing and react to their needs.

       123.    On this news, the price per share of MGP stock fell $8.27, or 14.7%, from closing

at a price of $56.31 per share on October 30, 2024, to close at a price of $49.04 per share on

October 31, 2024.

                               SUBSEQUENT DEVELOPMENT

       124.    On December 20, 2024, the Company announced on Form 8-K that Defendant

Bratcher was departing from his role as CEO and as a director on at the close of business on




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December 31, 2024 “under circumstances entitling him to severance benefits under his

employment agreement.”

       125.   The Form 8-K also announced that Defendant Gall would take over as interim-CEO

effective January 1, 2025 as the Company searched for a replacement for Defendant Bratcher.

                  REPURCHASES DURING THE RELEVANT PERIOD

       126.   During the Relevant Period, the Individual Defendants caused the Company to

initiate repurchases of its common stock that substantially damaged the Company. In total, the

Company spent an aggregate amount of approximately $10 million to repurchase approximately

128,360 shares of its own common stock at artificially inflated prices from March 2024 through

July 2024.

       127.   According to the Form 10-Q the Company filed with the SEC on May 2, 2024 for

the quarterly period ended March 31, 2024 (the “Q1 2024 10-Q”), between March 1, 2024 and

March 31, 2024, the Company repurchased 59,084 shares of its own common stock at an average

price per share of approximately $84.62, for a total cost to the Company of approximately

$4,999,688.

       128.   As the Company’s stock was actually worth only $49.04, the price at closing on

October 31, 2024, the Company overpaid by approximately $2,102,209 for repurchases of its own

tock between March 1, 2024 and March 31, 2024.

       129.   According to the Form 10-Q the Company filed with the SEC on August 1, 2024

for the quarterly period ended June 30, 2024 (the “Q2 2024 10-Q”), between May 1, 2024 and

May 31, 2024, the Company repurchased 33,363 shares of its own common stock at an average

price per share of approximately $74.93, for a total cost to the Company of approximately

$2,499,890.




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       130.    As the Company’s stock was actually worth only $49.04, the price at closing on

October 31, 2024, the Company overpaid by approximately $863,768 for repurchases of its own

tock between May 1, 2024 and May 31, 2024.

       131.    According to the Form 10-Q the Company filed with the SEC on October 31, 2024

for the quarterly period ended September 30, 2024 (the “Q3 2024 10-Q”), between July 1, 2024

and July 31, 2024, the Company repurchased 35,913 shares of its own common stock at an average

price per share of approximately $69.61, for a total cost to the Company of approximately

$2,499,904.

       132.    As the Company’s stock was actually worth only $49.04, the price at closing on

October 31, 2024, the Company overpaid by approximately $738,730 for repurchases of its own

tock between July 1, 2024 and July 31, 2024.

       133.    Thus, in total, during the Relevant Period, the Company overpaid for repurchases

of its own stock by approximately $3.7 million.

                                     DAMAGES TO MGP

       134.    As a direct and proximate result of the Individual Defendants’ conduct, MGP will

lose and expend many millions of dollars.

       135.    Such expenditures include, but are not limited to, legal fees, costs, and any

payments for resolution of or to satisfy a judgment associated with the Securities Class Action,

and amounts paid to outside lawyers, accountants, and investigators in connection thereto.

       136.    Such expenditures also include, but are not limited to, fees, costs, and any payments

for resolution of or to satisfy judgments associated with any other lawsuits filed against the

Company or the Individual Defendants based on any misconduct alleged herein and amounts paid

to outside lawyers, accountants, and investigators in connection thereto.




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       137.     Such expenditures will also include costs incurred in any internal investigations

pertaining to violations of law, costs incurred in defending any investigations or legal actions taken

against the Company due to its violations of law, and payments of any fines or settlement amounts

associated with the Company’s violations.

       138.     Such losses include the Company’s overpayment of approximately $3.7 million for

repurchases of its own stock during the period when the Company’s stock price was artificially

inflated due to the false and misleading statements discussed above.

       139.     Additionally, these expenditures include, but are not limited to, unjust

compensation, benefits, and other payments provided to the Individual Defendants who breached

their fiduciary duties to the Company.

       140.     As a direct and proximate result of the Individual Defendants’ conduct, MGP has

also suffered and will continue to suffer a loss of reputation and goodwill, and a “liar’s discount”

that will plague the Company’s stock in the future due to the Company’s and their

misrepresentations.

                                DERIVATIVE ALLEGATIONS

       141.     Plaintiff brings this action derivatively and for the benefit of MGP to redress

injuries suffered, and to be suffered, as a result of the Individual Defendants’ breaches of their

fiduciary duties as controlling shareholders, directors, and/or officers of MGP, gross

mismanagement, abuse of control, waste of corporate assets, unjust enrichment, for violations of

Section 14(a) of the Exchange Act, and for contribution under Sections 10(b) and 21D of the

Exchange Act.

       142.     MGP is named solely as a nominal party in this action. This is not a collusive action

to confer jurisdiction on this Court that it would not otherwise have.




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        143.    Plaintiff is, and has been at all relevant times, a shareholder of MGP. Plaintiff will

adequately and fairly represent the interests of MGP in enforcing and prosecuting its rights, and,

to that end, has retained competent counsel, experienced in derivative litigation, to enforce and

prosecute this action.

                             DEMAND FUTILITY ALLEGATIONS

        144.    Plaintiff incorporates by reference and re-alleges each and every allegation stated

above as if fully set forth herein.

        145.    A pre-suit demand on the Board of MGP is futile and, therefore, excused. At the

time of filing of this complaint, the Board consists of the following eight individuals: Defendants

Clark, Gerke, Lux, Michelson, Mingus, Rauckman, Seaberg, and Siwak (the “Director-

Defendants”). Plaintiff needs only to allege demand futility as to four of the eight Directors that

were on the Board at the time of the filing of this complaint.

        146.    Demand is excused as to all of the Director-Defendants because each one of them

faces, individually and collectively, a substantial likelihood of liability as a result of the scheme

they engaged in knowingly or recklessly to make and/or cause the Company to make false and

misleading statements and omissions of material fact, while they caused the Company to

repurchase its own stock at artificially inflated prices. This renders the Director-Defendants unable

to impartially investigate the charges and decide whether to pursue action against themselves and

the other perpetrators of the scheme.

        147.    In complete abdication of their fiduciary duties, the Director-Defendants either

knowingly or recklessly caused or permitted MGP to issue materially false and misleading

statements. Specifically, the Director-Defendants caused MGP to issue false and misleading

statements which were intended to make MGP appear more profitable and attractive to investors.




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Moreover, the Director-Defendants caused the Company to fail to maintain internal controls. As a

result of the foregoing, the Director-Defendants breached their fiduciary duties, face a substantial

likelihood of liability, are not disinterested, and demand upon them is futile, and thus excused.

       148.    Moreover, the Director-Defendants solicited the 2024 Proxy Statement to call for a

shareholder vote to, inter alia, re-elect themselves to the Board, thus allowing them to continue

breaching their fiduciary duties to MGP.

       149.    In addition, the Director-Defendants caused the 2024 Proxy Statement to call for a

shareholder vote to approve the 2024 Incentive Plan, which took the place of the previously

existing plans as they expired on April 1, 2024. The misrepresentations and omissions set forth

herein were material to shareholders in voting to approve the 2024 Incentive Plan who would not

have approved the 2024 Incentive Plan, had they been informed about the Individual Defendants’

misconduct. Before the shareholders approved the 2024 Incentive Plan at the annual meeting of

stockholders of MGP on May 23, 2024, the previously existing plans had expired on April 1, 2024.

For this reason, the Individual Defendants, including the Director-Defendants, received material

personal benefits that they otherwise would not receive but for from the issuance of the false and

misleading 2024 Proxy Statement and the shareholders approving the 2024 Incentive Plan that

made 1,320,000 shares available under the 2024 Incentive Plan. As such, the Director-Defendants

face a substantial likelihood of liability and demand is futile as to them.

       150.    In complete abdication of their fiduciary duties, the Director-Defendants either

knowingly or recklessly participated in causing the Company to make the materially false and

misleading statements alleged herein. The fraudulent scheme was intended to make the Company

appear more profitable and attractive to investors. Moreover, the Director-Defendants caused the

Company to fail to maintain adequate internal controls. As a result of the foregoing, the Director-




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Defendants breached their fiduciary duties, face a substantial likelihood of liability, are not

disinterested, and demand upon them is futile, and thus excused.

       151.    To date, Defendants Lux, Mingus, and Seaberg have received material personal

benefits from their insider sales as a result of the Individual Defendants’ false and misleading

statements alleged herein. As a result of the false and misleading statements, Defendant Lux

profited by approximately $6.5 million during the Relevant Period, Defendant Mingus profited by

approximately $1.7 million during the Relevant Period, and Defendant Seaberg profited by

approximately $5.9 million during the Relevant Period.

       152.    Additional reasons that demand on Defendant Clark is futile follow. Defendant

Clark has served as a Company director since June 2021. She also serves as the Chair of the Audit

Committee and as a member of the Compensation Committee and the Nominating and Governance

Committee. Defendant Clark has received and continues to receive compensation for her role as a

director. Furthermore, she solicited the 2024 Proxy Statement, which contained false and

misleading statements and contributed to the re-election of Defendants Bratcher, Gerke, Lux,

Michelson, Mingus, Rauckman, Seaberg, Siwak, and herself to the Board, which allowed them to

continue to breach their fiduciary duties to the Company and caused shareholders to approve the

2024 Incentive Plan. As a trusted Company director, she conducted little, if any, oversight of the

scheme to cause the Company to make false and misleading statements, consciously disregarded

her duty to monitor such controls over reporting and engagement in the scheme, and consciously

disregarded her duty to protect corporate assets. Moreover, under the 2024 Incentive Plan,

Defendant Clark is eligible to receive stock awards under the 2024 Incentive Plan, thereby

materially benefiting from the adoption of the 2024 Incentive Plan. For these reasons, Defendant




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Clark breached her fiduciary duties, faces a substantial likelihood of liability, is not independent

or disinterested, and thus demand upon her is futile and, therefore, excused.

       153.     Additional reasons that demand on Defendant Gerke is futile follow. Defendant

Gerke has served as a Company director since June 2021. He also serves as the Chair of the

Compensation Committee and as a member of the Audit Committee and the Nominating and

Governance Committee. Defendant Gerke has received and continues to receive compensation for

his role as a director. Furthermore, he solicited the 2024 Proxy Statement, which contained false

and misleading statements and contributed to the re-election of Defendants Bratcher, Clark, Lux,

Michelson, Mingus, Rauckman, Seaberg, Siwak, and himself to the Board, which allowed them to

continue to breach their fiduciary duties to the Company and caused shareholders to approve the

2024 Incentive Plan. As a trusted Company director, he conducted little, if any, oversight of the

scheme to cause the Company to make false and misleading statements, consciously disregarded

his duty to monitor such controls over reporting and engagement in the scheme, and consciously

disregarded his duty to protect corporate assets. Moreover, under the 2024 Incentive Plan,

Defendant Gerke is eligible to receive stock awards under the 2024 Incentive Plan, thereby

materially benefiting from the adoption of the 2024 Incentive Plan. For these reasons, Defendant

Gerke breached his fiduciary duties, faces a substantial likelihood of liability, is not independent

or disinterested, and thus demand upon him is futile and, therefore, excused.

       154.    Additional reasons that demand on Defendant Lux is futile follow. Defendant Lux

has served as a Company director since June 2021, and as the Board Chairman since January

20224. Defendant Lux has received and continues to receive compensation for his role as a

director. Furthermore, he solicited the 2024 Proxy Statement, which contained false and

misleading statements and contributed to the re-election of Defendants Bratcher, Clark, Gerke,




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Michelson, Mingus, Rauckman, Seaberg, Siwak, and himself to the Board, which allowed them to

continue to breach their fiduciary duties to the Company and caused shareholders to approve the

2024 Incentive Plan. As a trusted Company director, he conducted little, if any, oversight of the

scheme to cause the Company to make false and misleading statements, consciously disregarded

his duty to monitor such controls over reporting and engagement in the scheme, and consciously

disregarded his duty to protect corporate assets. Moreover, under the 2024 Incentive Plan,

Defendant Lux is eligible to receive stock awards under the 2024 Incentive Plan, thereby materially

benefiting from the adoption of the 2024 Incentive Plan. For these reasons, Defendant Lux

breached his fiduciary duties, faces a substantial likelihood of liability, is not independent or

disinterested, and thus demand upon him is futile and, therefore, excused.

       155.    Additional reasons that demand on Defendant Michelson is futile follow.

Defendant Michelson has served as a Company director since May 2022. She also serves as a

member of the Audit Committee, the Compensation Committee, and the Nominating and

Governance Committee. Defendant Michelson has received and continues to receive compensation

for her role as a director. Furthermore, she solicited the 2024 Proxy Statement, which contained

false and misleading statements and contributed to the re-election of Defendants Bratcher, Clark,

Gerke, Lux, Mingus, Rauckman, Seaberg, Siwak, and herself to the Board, which allowed them to

continue to breach their fiduciary duties to the Company and caused shareholders to approve the

2024 Incentive Plan. As a trusted Company director, she conducted little, if any, oversight of the

scheme to cause the Company to make false and misleading statements, consciously disregarded

her duty to monitor such controls over reporting and engagement in the scheme, and consciously

disregarded her duty to protect corporate assets. Moreover, under the 2024 Incentive Plan,

Defendant Michelson is eligible to receive stock awards under the 2024 Incentive Plan, thereby




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materially benefiting from the adoption of the 2024 Incentive Plan. For these reasons, Defendant

Michelson breached her fiduciary duties, faces a substantial likelihood of liability, is not

independent or disinterested, and thus demand upon her is futile and, therefore, excused.

       156.    Additional reasons that demand on Defendant Mingus is futile follow. Defendant

Mingus has served as a Company director since June 2020. She also serves as a member of the

Compensation Committee and the Nominating and Governance Committee. Defendant Mingus

has received and continues to receive compensation for her role as a director. Furthermore, she

solicited the 2024 Proxy Statement, which contained false and misleading statements and

contributed to the re-election of Defendants Bratcher, Clark, Gerke, Lux, Michelson, Rauckman,

Seaberg, Siwak, and herself to the Board, which allowed them to continue to breach their fiduciary

duties to the Company and caused shareholders to approve the 2024 Incentive Plan. In addition,

Defendant Mingus cannot disinterestedly consider a demand to sue the directors, which include

her mother, Defendant Seaberg. As a trusted Company director, she conducted little, if any,

oversight of the scheme to cause the Company to make false and misleading statements,

consciously disregarded her duty to monitor such controls over reporting and engagement in the

scheme, and consciously disregarded her duty to protect corporate assets. Moreover, under the

2024 Incentive Plan, Defendant Mingus is eligible to receive stock awards under the 2024

Incentive Plan, thereby materially benefiting from the adoption of the 2024 Incentive Plan. For

these reasons, Defendant Mingus breached her fiduciary duties, faces a substantial likelihood of

liability, is not independent or disinterested, and thus demand upon her is futile and, therefore,

excused.

       157.    Additional reasons that demand on Defendant Rauckman is futile follow.

Defendant Rauckman has served as a Company director since June 2021. He also serves as the




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Chair of the Nominating and Governance Committee and as a member of the Audit Committee

and Compensation Committee. Defendant Rauckman has received and continues to receive

compensation for his role as a director. Furthermore, he solicited the 2024 Proxy Statement, which

contained false and misleading statements and contributed to the re-election of Defendants

Bratcher, Clark, Gerke, Lux, Michelson, Mingus, Seaberg, Siwak, and himself to the Board, which

allowed them to continue to breach their fiduciary duties to the Company and caused shareholders

to approve the 2024 Incentive Plan. As a trusted Company director, he conducted little, if any,

oversight of the scheme to cause the Company to make false and misleading statements,

consciously disregarded his duty to monitor such controls over reporting and engagement in the

scheme, and consciously disregarded his duty to protect corporate assets. Moreover, under the

2024 Incentive Plan, Defendant Rauckman is eligible to receive stock awards under the 2024

Incentive Plan, thereby materially benefiting from the adoption of the 2024 Incentive Plan. For

these reasons, Defendant Rauckman breached his fiduciary duties, faces a substantial likelihood

of liability, is not independent or disinterested, and thus demand upon him is futile and, therefore,

excused.

       158.    Additional reasons that demand on Defendant Seaberg is futile follow. Defendant

Seaberg has served as a Company director since August 2009. She also previously served as the

Board Chairperson from December 2014-December 2024. In addition, Defendant Seaberg serves

as a member of the Compensation Committee and the Nominating and Governance Committee.

Defendant Seaberg has received and continues to receive compensation for her role as a director.

Furthermore, she solicited the 2024 Proxy Statement, which contained false and misleading

statements and contributed to the re-election of Defendants Bratcher, Clark, Gerke, Lux,

Michelson, Mingus, Rauckman, Siwak, and herself to the Board, which allowed them to continue




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to breach their fiduciary duties to the Company and caused shareholders to approve the 2024

Incentive Plan. In addition, Defendant Seaberg cannot disinterestedly consider a demand to sue

the directors, which include her daughter, Defendant Mingus. As a trusted Company director, she

conducted little, if any, oversight of the scheme to cause the Company to make false and

misleading statements, consciously disregarded her duty to monitor such controls over reporting

and engagement in the scheme, and consciously disregarded her duty to protect corporate assets.

Moreover, under the 2024 Incentive Plan, Defendant Seaberg is eligible to receive stock awards

under the 2024 Incentive Plan, thereby materially benefiting from the adoption of the 2024

Incentive Plan. For these reasons, Defendant Seaberg breached her fiduciary duties, faces a

substantial likelihood of liability, is not independent or disinterested, and thus demand upon her is

futile and, therefore, excused.

       159.    Additional reasons that demand on Defendant Siwak is futile follow. Defendant

Siwak has served as a Company director since May 2022. He also serves as a member of the Audit

Committee, the Compensation Committee, and the Nominating and Governance Committee.

Defendant Siwak has received and continues to receive compensation for his role as a director.

Furthermore, he solicited the 2024 Proxy Statement, which contained false and misleading

statements and contributed to the re-election of Defendants Bratcher, Clark, Gerke, Lux,

Michelson, Mingus, Rauckman, Seaberg, and himself to the Board, which allowed them to

continue to breach their fiduciary duties to the Company and caused shareholders to approve the

2024 Incentive Plan. As a trusted Company director, he conducted little, if any, oversight of the

scheme to cause the Company to make false and misleading statements, consciously disregarded

his duty to monitor such controls over reporting and engagement in the scheme, and consciously

disregarded his duty to protect corporate assets. Moreover, under the 2024 Incentive Plan,




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Defendant Siwak is eligible to receive stock awards under the 2024 Incentive Plan, thereby

materially benefiting from the adoption of the 2024 Incentive Plan. For these reasons, Defendant

Siwak breached his fiduciary duties, faces a substantial likelihood of liability, is not independent

or disinterested, and thus demand upon him is futile and, therefore, excused.

       160.    Additional reasons that demand on the Board is futile follow.

       161.    Demand in this case is further excused because the Class A directors, comprised of

Defendants Gerke, Rauckman, and Siwak, are beholden to and controlled by Defendant Lux, who

is the common stock controlling shareholder. Defendant Lux controls the Class A directors’

continued nomination to the Board. In light of this control, Defendants Gerke, Rauckman, and

Siwak cannot impartially consider a demand against Defendant Lux, as they are dependent on him

for their continued positions with the Company and the compensation that goes with that. Thus,

Defendants Gerke, Rauckman, and Siwak are unable to evaluate a demand with disinterest or

independence given Defendant Lux’s control over them.

       162.    Demand in this case is further excused because the Class B directors, comprised of

Defendants Clark, Michelson, and Mingus, are beholden to and controlled by Defendant Seaberg,

who is the preferred stock controlling shareholder. Defendant Seaberg controls the Class B

directors’ continued nomination to the Board. In light of this control, Defendants Clark, Michelson,

and Mingus cannot impartially consider a demand against Defendant Seaberg, as they are

dependent on her for their continued positions with the Company and the compensation that goes

with that. Thus, Defendants Clark, Michelson, and Mingus are unable to evaluate a demand with

disinterest or independence given Defendant Seaberg’s control over them.

       163.    Defendants Clark (as Chair), Gerke, Michelson, Rauckman, and Siwak served as

members of the Audit Committee at all relevant times (collectively, the “Audit Committee




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Defendants”). As such, they were responsible for the effectiveness of the Company’s internal

controls, the truth and accuracy of the Company’s financial statements, and the Company’s

compliance with applicable laws and regulations. During the Relevant Period, they violated the

Audit Committee Charter by engaging in or permitting the Company to engage in the

dissemination of materially false and misleading statements to the public and to facilitate the

Individual Defendants’ violations of law, including breaches of fiduciary duty and violations of

the Exchange Act; failed to adequately exercise their risk management and risk assessment

functions; and failed to ensure adequate Board oversight of the Company’s internal control over

financial reporting, disclosure controls and procedures, and the Business Standards. Thus, the

Audit Committee Defendants breached their fiduciary duties, are not independent or disinterested,

and thus demand is excused as to them.

       164.    In violation of the Code of Conduct, the Director-Defendants engaged in or

permitted the scheme to cause the Company to issue materially false and misleading statements to

the public, and to facilitate and disguise the Individual Defendants’ violations of law, including

breaches of fiduciary duty, unjust enrichment, abuse of control, gross mismanagement, waste of

corporate assets, and violations of the Exchange Act. In violation of the Code of Conduct, the

Director-Defendants failed to avoid conflicts of interest or the appearance of conflicts of interest;

maintain the accuracy of Company records; protect and ensure the efficient use of Company assets;

comply with all applicable laws, rules, and regulations, and properly report violations of the Code

of Conduct and applicable laws, rules, and regulations. Thus, the Director-Defendants face a

substantial likelihood of liability and demand is futile as to them.

       165.    MGP has been and will continue to be exposed to significant losses due to the

wrongdoing complained of herein, yet the Director-Defendants have not filed any lawsuits against




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the Individual Defendants or others who were responsible for that wrongful conduct to attempt to

recover for MGP any part of the damages MGP suffered and will continue to suffer thereby. Thus,

any demand upon the Director-Defendants would be futile.

       166.    The Individual Defendants’ conduct described herein and summarized above could

not have been the product of legitimate business judgment as it was based on bad faith and

intentional, reckless, or disloyal misconduct. Thus, none of the Director-Defendants can claim

exculpation from their violations of duty pursuant to the Company’s charter (to the extent such a

provision exists). As a majority of the Director-Defendants face a substantial likelihood of liability,

they are self-interested in the transactions challenged herein and are not capable of exercising

independent and disinterested judgment about whether to pursue this action on behalf of the

shareholders of the Company. Accordingly, demand is excused as being futile.

       167.    The acts complained of herein constitute violations of fiduciary duties owed by

MGP’s controlling shareholders, officers, and directors, and these acts are incapable of ratification.

       168.    The Director-Defendants may also be protected against personal liability for their

acts of mismanagement and breaches of fiduciary duty alleged herein by directors’ and officers’

liability insurance if they caused the Company to purchase it for their protection with corporate

funds, i.e., monies belonging to the stockholders of MGP. If there is a directors’ and officers’

liability insurance policy covering the Director-Defendants, it may contain provisions that

eliminate coverage for any action brought directly by the Company against the Director-

Defendants, known as, inter alia, the “insured-versus-insured exclusion.” As a result, if the

Director-Defendants were to sue themselves or certain of the officers of MGP, there would be no

directors’ and officers’ insurance protection. Accordingly, the Director-Defendants cannot be

expected to bring such a suit. On the other hand, if the suit is brought derivatively, as this action




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is brought, such insurance coverage, if such an insurance policy exists, will provide a basis for the

Company to effectuate a recovery. Thus, demand on the Director-Defendants is futile and,

therefore, excused.

       169.    If there is no directors’ and officers’ liability insurance, then the Director-

Defendants will not cause MGP to sue the Individual Defendants named herein, since, if they did,

they would face a large uninsured individual liability. Accordingly, demand is futile in that event,

as well.

       170.    Thus, for all of the reasons set forth above, all of the Director-Defendants, and, if

not all of them, at least four of the Director-Defendants, cannot consider a demand with

disinterestedness and independence. Consequently, a demand upon the Board is excused as futile.

                                     FIRST CLAIM
   Against the Individual Defendants for Violations of Section 14(a) of the Exchange Act

       171.    Plaintiff incorporates by reference and realleges each and every allegation set forth

above, as though fully set forth herein.

       172.    Section 14(a) of the Exchange Act, 15 U.S.C. § 78n(a)(1), provides that “[i]t shall

be unlawful for any person, by use of the mails or by any means or instrumentality of interstate

commerce or of any facility of a national securities exchange or otherwise, in contravention of

such rules and regulations as the [SEC] may prescribe as necessary or appropriate in the public

interest or for the protection of investors, to solicit or to permit the use of his name to solicit any

proxy or consent or authorization in respect of any security (other than an exempted security)

registered pursuant to section 12 of this title [15 U.S.C. § 78l].”

       173.    Rule 14a-9, promulgated pursuant to § 14(a) of the Exchange Act, provides that no

proxy statement shall contain “any statement which, at the time and in the light of the

circumstances under which it is made, is false or misleading with respect to any material fact, or



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which omits to state any material fact necessary in order to make the statements therein not false

or misleading.” 17 C.F.R. § 240.14a-9.

       174.    Under the direction and watch of Defendants Bratcher, Clark, Gerke, Lux,

Michelson, Mingus, Rauckman, Seaberg, and Siwak, the 2024 Proxy Statement failed to disclose

that: (1) though the Company claimed its officers and directors adhered to the Code of Conduct,

the Individual Defendants violated these policies either without waivers or without such waivers

being disclosed; and (2) contrary to the 2024 Proxy Statement’s descriptions of the Board’s and

its committees’ risk oversight functions, the Board and its committees were not adequately

exercising these functions and were causing or permitting the Company to issue false and

misleading statements.

       175.    The 2024 Proxy Statement also failed to disclose that: (1) despite their claims, the

Individual Defendants did not have a good sense as to the decreasing demand in the industry; (2)

as a result of the foregoing, the Company failed to adjust its production and inventory levels

accordingly; (3) because of this, the Company’s inventory levels remained unsustainably high

while demand for its products decreased; (4) the Individual Defendants were improperly interested

in increasing their future compensation by seeking shareholder approval of the 2024 Incentive

Plan; and (5) the Company failed to maintain internal controls. As a result, the Individual

Defendants’ statements about the Company’s business, operations, and prospects were materially

false and misleading and/or lacked a reasonable basis at all relevant times.

       176.    In exercise of reasonable care, Defendants Bratcher, Clark, Gerke, Lux, Michelson,

Mingus, Rauckman, Seaberg, and Siwak should have known that by misrepresenting or failing to

disclose the foregoing material facts, the statements contained in the 2024 Proxy Statement were

materially false and misleading. The misrepresentations and omissions were material to Plaintiff




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in voting on matters set forth for shareholder determination in the 2024 Proxy Statement, including

but not limited to the re-election of Defendants Bratcher, Clark, Gerke, Lux, Michelson, Mingus,

Rauckman, Seaberg, and Siwak to the Board and the approval of the 2024 Incentive Plan.

       177.    The false and misleading elements of the 2024 Proxy Statement led to, among other

things, the re-election of Defendants Bratcher, Clark, Gerke, Lux, Michelson, Mingus, Rauckman,

Seaberg, and Siwak to the Board, which allowed them to continue to breach their fiduciary duties

to the Company, and the approval of the 2024 Incentive Plan.

       178.    The Company was damaged as a result of Defendants Bratcher’s, Clark’s, Gerke’s,

Lux’s, Michelson’s, Mingus’s, Rauckman’s, Seaberg’s, and Siwak’s material misrepresentations

and omissions in the 2024 Proxy Statement.

       179.    Plaintiff, on behalf of MGP, has no adequate remedy at law.

                                   SECOND CLAIM
  Against the Individual Defendants for Violations of Section 10(b) and Rule 10b-5 of the
                                      Exchange Act

       180.    Plaintiff incorporates by reference and re-alleges each and every allegation set forth

above, as though fully set forth herein.

       181.    The Individual Defendants participated in a scheme to defraud with the purpose

and effect of defrauding MGP. Not only is MGP now defending claims that it violated Section

10(b) of the Exchange Act and Rule 10b-5 promulgated thereunder, but the Company itself is also

one of the largest victims of the unlawful scheme perpetrated upon MGP by the Individual

Defendants. With the price of its common stock trading at artificially inflated prices due to the




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Individual Defendants’ misconduct, the Individual Defendants caused the Company to repurchase

128,360 of its own shares at artificially inflated prices, damaging MGP.

       182.    During the Relevant Period, the Individual Defendants also individually and in

concert, directly and indirectly, by the use and means of instrumentalities of interstate commerce

and/or of the mails, engaged and participated in a continuous course of conduct designed to falsify

the Company’s press releases, public statements made in earnings calls, and periodic and current

reports filed with the SEC.

       183.    The Individual Defendants employed devices, schemes, and artifices to defraud

while in the possession of adverse, material, non-public information and engaged in acts, practices

and a course of conduct that included the making of, or participation in the making of, untrue

and/or misleading statements of material facts and/or omitting to state material facts necessary in

order to make the statements made about MGP not misleading.

       184.    The Individual Defendants as top executives acted with scienter during the Relevant

Period, in that they either had actual knowledge of the scheme and the misrepresentations and/or

omissions of material facts set forth herein or acted with reckless disregard for the truth in that

they failed to ascertain and to disclose the true facts, even though such facts were available to

them. The Individual Defendants were the top executives of the Company, or received direct

briefings from them, and were therefore directly responsible for the scheme set forth herein and




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for the false and misleading statements and/or omissions disseminated to the public through filings

with the SEC.

       185.     By virtue of the foregoing, the Individual Defendants have violated §10(b) of the

Exchange Act, and Rule 10b-5 promulgated thereunder.

                                    THIRD CLAIM
   Against the Individual Defendants for Violations of Section 20(a) of the Exchange Act

       186.     Plaintiff incorporates by reference and re-alleges each and every allegation set forth

above, as though fully set forth herein.

       187.     The Individual Defendants, by virtue of their positions with MGP and their specific

acts, were, at the time of the wrongs alleged herein, controlling persons of MGP and each of its

officers and directors who made the false and misleading statements alleged herein within the

meaning of §20(a) of the Exchange Act. The Individual Defendants had the power and influence

and exercised the same to cause MGP to engage in the illegal conduct and practices complained

of herein.

       188.     Plaintiff, on behalf of MGP, has no adequate remedy at law.

                                     FOURTH CLAIM
              Against the Individual Defendants for Breach of Fiduciary Duties

       189.     Plaintiff incorporates by reference and re-alleges each and every allegation set forth

above, as though fully set forth herein.

       190.     Each Individual Defendant owed to the Company the duty to exercise candor, good

faith, and loyalty in the management and administration of MGP’s business and affairs.

       191.     Each of the Individual Defendants violated and breached his or her fiduciary duties

of candor, good faith, loyalty, reasonable inquiry, oversight, and supervision.




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       192.    The Individual Defendants’ conduct set forth herein was due to their intentional or

reckless breach of the fiduciary duties they owed to the Company, as alleged herein. The Individual

Defendants intentionally or recklessly breached or disregarded their fiduciary duties to protect the

rights and interests of MGP.

       193.    In breach of their fiduciary duties owed to MGP, the Individual Defendants

willfully or recklessly caused the Company to make false and/or misleading statements and/or

omissions of material fact that failed to disclose, inter alia, that: 1) despite their claims, the

Individual Defendants did not have a good sense as to the decreasing demand in the industry; (2)

as a result of the foregoing, the Company failed to adjust its production and inventory levels

accordingly; (3) because of this, the Company’s inventory levels remained unsustainably high

while demand for its products decreased; (4) the Individual Defendants were improperly interested

in increasing their future compensation by seeking shareholder approval of the 2024 Incentive

Plan; and (5) the Company failed to maintain internal controls. As a result, the Individual

Defendants’ statements about the Company’s business, operations, and prospects were materially

false and misleading and/or lacked a reasonable basis at all relevant times.

       194.    The Individual Defendants further failed to correct and/or caused the Company to

fail to correct the false and/or misleading statements and/or omissions of material fact, which

renders them personally liable to the Company for breaching their fiduciary duties.

       195.    Also, in breach of their fiduciary duties, the Individual Defendants failed to

maintain adequate internal controls.

       196.    In yet further breach of their fiduciary duties, during the Relevant Period, the

Individual Defendants willfully or recklessly caused the Company to repurchase thousands of

shares of its own common stock at artificially inflated prices before the fraud was exposed, while




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three of the Individual Defendants engaged in lucrative insider sales, netting proceeds of

approximately $14.2 million.

       197.    The Individual Defendants had actual or constructive knowledge that they had

caused the Company to fail to maintain adequate internal controls. The Individual Defendants had

actual knowledge that internal controls were not adequately maintained, or acted with reckless

disregard for the truth, in that they caused the Company to fail to maintain adequate internal

controls, even though such facts were available to them. Such improper conduct was committed

knowingly or recklessly and for the purpose and effect of artificially inflating the price of MGP’s

securities. The Individual Defendants, in good faith, should have taken appropriate action to

correct the schemes alleged herein and to prevent them from continuing to occur.

       198.    These actions were not a good-faith exercise of prudent business judgment to

protect and promote the Company’s corporate interests.

       199.    As a direct and proximate result of the Individual Defendants’ breaches of their

fiduciary obligations, MGP has sustained and continues to sustain significant damages. As a result

of the misconduct alleged herein, the Individual Defendants are liable to the Company.

       200.    Plaintiff, on behalf of MGP, has no adequate remedy at law.

                                       FIFTH CLAIM
                    Against Individual Defendants for Unjust Enrichment

       201.    Plaintiff incorporates by reference and re-alleges each and every allegation set forth

above, as though fully set forth herein.

       202.    By their wrongful acts, violations of law, and false and misleading statements and

omissions of material fact that they made and/or caused to be made, the Individual Defendants

were unjustly enriched at the expense of, and to the detriment of, MGP.




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       203.    The Individual Defendants either benefitted financially from the improper conduct,

or received bonuses, stock options, or similar compensation from MGP that was tied to the

performance or artificially inflated valuation of MGP or received compensation or other payments

that were unjust in light of the Individual Defendants’ bad faith conduct.

       204.    Plaintiff, as a shareholder and a representative of MGP, seeks restitution from the

Individual Defendants and seeks an order from this Court disgorging all profits, including from

insider transactions, benefits, and other compensation, including any performance-based or

valuation-based compensation, obtained by the Individual Defendants due to their wrongful

conduct and breach of their fiduciary duties.

       205.    Plaintiff, on behalf of MGP, has no adequate remedy at law.

                                      SIXTH CLAIM
                     Against Individual Defendants for Abuse of Control

       206.    Plaintiff incorporates by reference and re-alleges each and every allegation set forth

above, as though fully set forth herein.

       207.    The Individual Defendants’ misconduct alleged herein constituted an abuse of their

ability to control and influence MGP, for which they are legally responsible.

       208.    As a direct and proximate result of the Individual Defendants’ abuse of control,

MGP has sustained significant damages. As a direct and proximate result of the Individual

Defendants’ breaches of their fiduciary obligations of candor, good faith, and loyalty, MGP has

sustained and continues to sustain significant damages. As a result of the misconduct alleged

herein, the Individual Defendants are liable to the Company.

       209.    Plaintiff, on behalf of MGP, has no adequate remedy at law.




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                                     SEVENTH CLAIM
                  Against Individual Defendants for Gross Mismanagement

       210.    Plaintiff incorporates by reference and re-alleges each and every allegation set forth

above, as though fully set forth herein.

       211.    By their actions alleged herein, the Individual Defendants, either directly or through

aiding and abetting, abandoned and abdicated their responsibilities and fiduciary duties with regard

to prudently managing the assets and business of MGP in a manner consistent with the operations

of a publicly held corporation.

       212.    As a direct and proximate result of the Individual Defendants’ gross

mismanagement and breaches of duty alleged herein, MGP has sustained and will continue to

sustain significant damages.

       213.    As a result of the misconduct and breaches of duty alleged herein, the Individual

Defendants are liable to the Company.

       214.    Plaintiff, on behalf of MGP, has no adequate remedy at law.

                                     EIGHTH CLAIM
                Against Individual Defendants for Waste of Corporate Assets

       215.    Plaintiff incorporates by reference and re-alleges each and every allegation set forth

above, as though fully set forth herein.

       216.    The Individual Defendants caused the Company to pay the Individual Defendants

excessive salaries and fees, to the detriment of the shareholders and the Company.

       217.    As a result of the foregoing, and by failing to properly consider the interests of the

Company and its public shareholders, the Individual Defendants have caused MGP to waste

valuable corporate assets, to incur many millions of dollars of legal liability and/or costs to defend




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unlawful actions, to engage in internal investigations, and to lose financing from investors and

business from future customers who no longer trust the Company and its products.

       218.    As a result of the waste of corporate assets, the Individual Defendants are each

liable to the Company.

       219.    Plaintiff, on behalf of MGP, has no adequate remedy at law.

                                           NINTH CLAIM

                Against Defendants Colo, Bratcher, and Gall for Contribution
                     Under Sections 10(b) and 21D of the Exchange Act

       220.    Plaintiff incorporates by reference and realleges each and every allegation set forth

above, as though fully set forth herein.

       221.    MGP and Defendants Colo, Bratcher, and Gall are named as defendants in the

Securities Class Action, which asserts claims under the federal securities laws for violations of

Sections 10(b) and 20(a) of the Exchange Act, and SEC Rule 10b-5 promulgated thereunder. If

and when the Company is found liable in the Securities Class Action for these violations of the

federal securities laws, the Company’s liability will be in whole or in part due to Defendants

Colo’s, Bratcher’s, and Gall’s willful and/or reckless violations of their obligations as officers

and/or directors of MGP.

       222.    Defendants Colo, Bratcher, and Gall, because of their positions of control and

authority as officers and/or directors of MGP, were able to and did, directly and/or indirectly,

exercise control over the business and corporate affairs of MGP, including the wrongful acts

complained of herein and in the Securities Class Action.

       223.    Accordingly, Defendants Colo, Bratcher, and Gall are liable under 15 U.S.C. §

78j(b), which creates a private right of action for contribution, and Section 21D of the Exchange




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Act, 15 U.S.C. § 78u-4(f), which governs the application of a private right of action for

contribution arising out of violations of the Exchange Act.

       224.     As such, MGP is entitled to receive all appropriate contribution or indemnification

from Defendants Colo, Bratcher, and Gall.

                                     PRAYER FOR RELIEF

       FOR THESE REASONS, Plaintiff demands judgment in the Company’s favor against all

Individual Defendants as follows:

                (a)     Declaring that Plaintiff may maintain this action on behalf of MGP, and that

Plaintiff is an adequate representative of the Company;

                (b)     Declaring that the Individual Defendants have breached and/or aided and

abetted the breach of their fiduciary duties to MGP;

                (c)     Determining and awarding to MGP the damages sustained by it as a result

of the violations set forth above from each of the Individual Defendants, jointly and severally,

together with pre-judgment and post-judgment interest thereon;

                (d)     Directing MGP and the Individual Defendants to take all necessary actions

to reform and improve MGP’s corporate governance and internal procedures to comply with

applicable laws and to protect MGP and its shareholders from a repeat of the damaging events

described herein, including, but not limited to, putting forward for shareholder vote the following

resolutions for amendments to the Company’s Bylaws or Certificate of Incorporation and the

following actions as may be necessary to ensure proper corporate governance policies:

                      1. a proposal to strengthen the Board’s supervision of operations and develop

              and implement procedures for greater shareholder input into the policies and

              guidelines of the Board;

                      2. a provision to permit the shareholders of MGP to nominate at least four


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            candidates for election to the Board; and

                      3. a proposal to ensure the establishment of effective oversight of compliance

            with applicable laws, rules, and regulations.

                (e)      Awarding MGP restitution from the Individual Defendants, and each of

them;

               (f)       Awarding Plaintiff the costs and disbursements of this action, including

reasonable attorneys’ and experts’ fees, costs, and expenses; and

               (g)       Granting such other and further relief as the Court may deem just and

proper.

                                         JURY DEMAND

Plaintiff hereby demands a trial by jury.

Dated: January 23, 2025                        Respectfully Submitted,

                                               WALTERS, RENWICK, RICHARDS
                                               & VAUGHAN, P.C.

                                               /s/ Karen Wedel Renwick
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                                                         VERIFICATION

                    I, Cole Sebald, am a plaintiff in the within action. I have reviewed the allegations made in
            this Shareholder Derivative Complaint, know the contents thereof, and authorize its filing. To
            those allegations of which I have personal knowledge, I believe those allegations to be true. As to
            those allegations of which I do not have personal knowledge, I rely upon my counsel and their
            investigation and believe them to be true.

                     I declare under penalty of perjury that the foregoing is true and correct. Executed this
            __ day of January, 2025.
          7th




                                              ______________________
                                              Cole Sebald
